                               UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF OREGON

In re                                          )            09-60875-fra11
                                                   Case No.________________
BARBARA K. PARMENTER                           )
                                               )   CHAPTER 11 TRUSTEE'S
                                               )   FINAL ACCOUNT RE
                                               )   CONFIRMED, CONVERTED,
                                               )   DISMISSED, OR
Debtor(s)                                      )   TRANSFERRED CASE


   Kenneth S. Eiler
I, _________________________________,    the undersigned, was appointed a Chapter 11 trustee in this
case on ___________,
            3/26/10  and certify under penalty of perjury that:

1. On ___________,
         5/3/11    this case was (check one):

            Confirmed.
            Converted from a Chapter 11 to a Chapter ____.
            Dismissed.
            Transferred to another office/district.

2. A detailed itemization of my receipts and disbursements as Chapter 11 trustee is attached. I
   collected a total of $________________,
                              535,868.72      disbursed a total of $________________,
                                                                        486,847.87    and turned over
   the balance of $________________,
                           49,020.85      to _____________________________________,
                                              Kenneth S. Eiler                             who is the
   _________________________________________.
   Trustee for the Liquidating Trust
                  (e.g., Chapter 7 trustee)

3. Attached is the final financial report as required by LBR 2015. Also attached are any previously
   unfiled monthly Fed. Bankruptcy Rule 2015 financial reports from at least the date of my appointment
   through the date of dismissal, conversion, transfer or confirmation (whichever is earlier).

4. I will file a timely proof of claim to assert any claim for a commission or out-of-pocket expenses
   incurred in this case. I will file a timely proof of claim for allowances as an administrative expense.

5. On ___________
          6/6/11     copies of this final account were mailed to any successor trustee, the U.S. Trustee,
   the debtor(s), and any debtor(s)’ attorney.

I hereby request this final account be approved and I be discharged from my trust.




DATE: ___________
         6/6/11                                                 /s/ Kenneth S. Eiler, Trustee
                                                                __________________________________
                                                                                 Trustee

1198 (4/1/09)

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                             NARRATIVE RE FORM 1198



The following documents include a summary of receipts prepared by the Trustee’s accountant, Form
2 showing receipts and disbursements made by the Trustee, a Payment Summary prepared by
Guardian Management showing disbursements made during its management of the Village East
Apartments, and the April 2015 report.




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                      Barbara K. Parmenter
                      Cash Receipts
                      3/26/2010 to 4/30/2011

                               Siuslaw Bank     Key Bank         Key Bank        Key Bank    Key Bank        Umpqua BNY Mellon                BNY Mellon      BNY Mellon            BNY Mellon          Sterling       Sterling      Sterling
                                   1442           4720             4738            6907        6949           5002      3565                     3566           3567                  3568                7631           7649          3581
                                 Checking       Checking         Checking        Checking    Checking       Money Mkt Money Mkt                Checking       Money Mkt             Money Mkt           Checking       Checking      Checking           Total

                       Mar‐10     1,403.08                                                                        27.07                                                                                                                                    1,430.15
                       Apr‐10                  25,939.00     201.00        629.00              10,263.49          20.32                                                                                                                                  37,052.81
                       May‐10                  15,851.51     411.00        629.00                6,180.00         16.48          65,433.94                        11,003.13                                                                              99,525.06
                       Jun‐10                                              629.00                                 19.43          59,390.53        4,832.50                   0.49                           5,549.10                                     70,421.05
                         Jul‐10                                                                                   17.67          30,193.80                                   0.11                           6,340.00         89.00                       36,640.58
                       Aug‐10                                                                                     18.86          30,604.63           800.00                  0.12                         11,550.28                                      42,973.89
                       Sep‐10                                                                                     14.15            3,920.20                                  0.01                         32,232.60        422.00                        36,588.96
                       Oct‐10                                                                                     10.93            5,835.18                                  0.01                         25,796.50        338.00                        31,980.62
                       Nov‐10                                                                                     11.33            2,800.12          785.00                  0.01                                                                          3,596.46
                       Dec‐10                                                                                        9.09          3,855.08                                  0.01                         54,882.75        759.00            0.54        59,506.47
                        Jan‐11                                                                                       8.54          4,475.04                                  0.01                         19,030.00                          1.31        23,514.90
                       Feb‐11                                                                                        6.61          1,475.03                                  0.01                         28,491.25        300.00            1.56        30,274.46
                       Mar‐11                                                                                        7.32          1,570.03          485.00                                               30,260.15        118.00            2.73        32,443.23




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                       Apr‐11                                                                                        6.85          2,385.03                                                   770.00      26,754.75                          3.45        29,920.08

                         Total:     1,403.08     41,790.51     612.00     1,887.00             16,443.49        194.65         211,938.61         6,902.50        11,003.91                   770.00   240,887.38      2,026.00              9.59      535,868.72

                      Grand Total:                                  535,868.72




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                                                      Cash Receipts And Disbursements Record
Case Number:           609-60875-FRA11                                                                  Trustee:            KENNETH S. EILER (570105)
Case Name:             PARMENTER, BARBARA K.                                                            Bank Name:          The Bank of New York Mellon
                                                                                                        Account:            9200-******35-65 - Money Market Account
Taxpayer ID #:         **-***5440                                                                       Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                                 Separate Bond: N/A

    1            2                           3                                           4                                              5                       6                    7

 Trans.     {Ref #} /                                                                                                               Receipts              Disbursements         Money Market
  Date      Check #             Paid To / Received From                    Description of Transaction              T-Code              $                        $              Account Balance
05/13/10       {1}           SIUSLAW BANK                         ESCROW ACCOUNT                                   1229-000             23,190.78                                     23,190.78
05/18/10       {2}           PARMENTER                            CASH ON HAND                                     1229-000              5,000.00                                     28,190.78
05/18/10       {2}           PARMENTER                            CASH ON HAND                                     1229-000              5,000.00                                     33,190.78
05/18/10       {2}           PARMENTER                            CASH ON HAND                                     1229-000             21,500.00                                     54,690.78
05/19/10                     To Account #9200******3566           TO PAY PAYROLL                                   9999-000                                         5,000.00          49,690.78
05/20/10       {3}           KEY BANK ACCT #6907                  DRAW DOWN DIP ACCOUNT                            1129-000                 177.98                                    49,868.76
05/20/10       {3}           KEY BANK ACCT #6949                  DRAW DOWN DIP ACCOUNT                            1129-000              5,119.43                                     54,988.19
05/20/10       {3}           KEY BANK ACCT #4720                  DRAW DOWN OF DIP ACCOUNT                         1129-000              5,444.47                                     60,432.66
05/22/10                     To Account #9200******3566           TO PAY EXPENSES                                  9999-000                                     10,000.00             50,432.66
05/26/10      1001           VOID FOR OREGON COMMUNITY            VOID FOR OREGON COMMUNITY HOUSING 2990-000                                          !                1.00           50,431.66
                             HOUSING DIRECT DEPOSIT               DIRECT DEPOSIT
                                                                  Voided on 05/26/10
05/26/10      1001           VOID FOR OREGON COMMUNITY            VOID FOR OREGON COMMUNITY HOUSING 2990-000                                          !                -1.00          50,432.66
                             HOUSING DIRECT DEPOSIT               DIRECT DEPOSIT
                                                                  Voided: check issued on 05/26/10
05/26/10      1002           VOID FOR OREGON COMMUNITY            VOID FOR OREGON COMMUNITY HOUSING 2990-000                                                           1.00           50,431.66
                             HOUSING DIRECT DEPOSIT               DIRECT DEPOSIT
                                                                  Voided on 05/26/10
05/26/10      1002           VOID FOR OREGON COMMUNITY            VOID FOR OREGON COMMUNITY HOUSING 2990-000                                                           -1.00          50,432.66
                             HOUSING DIRECT DEPOSIT               DIRECT DEPOSIT
                                                                  Voided: check issued on 05/26/10
05/28/10         Int         The Bank of New York Mellon          Interest posting at 0.0700%                      1270-000                   1.28                                    50,433.94
06/10/10       {7}           NW NATURAL GAS                       REFUND                                           1229-000                  36.81                                    50,470.75
06/10/10       {5}           WADE SMITH                           RENT SMITH OAK                                   1121-000                 285.00                                    50,755.75
06/10/10       {5}           JESSICA MORIN                        CRESWELL RENT                                    1121-000                 400.00                                    51,155.75
06/10/10       {5}           WADE SMITH                           SMTIH OAK RENT                                   1121-000                 500.00                                    51,655.75
06/10/10       {5}           ROBERT & SHERRY FAUBUSH              MONTHLY RENT                                     1121-000              1,200.00                                     52,855.75
06/10/10       {7}           LIBERTY NW                           REFUND                                           1229-000              2,128.11                                     54,983.86
06/11/10                     To Account #9200******3566           TO PAY BILLS                                     9999-000                                     10,000.00             44,983.86
06/14/10                     To Account #9200******3566           TO PAY BILLS                                     9999-000                                         5,000.00          39,983.86
06/14/10      1003           ALLIED NATIONAL APPLICANCE           ACCT NO: 325A1-01NV133579                        2990-000                                         1,052.92          38,930.94
06/17/10                     HAP SUBSIDY                          HAP SUBSIDY FOR JUNE                             1122-000             27,768.00                                     66,698.94
06/17/10                     HAP SUBSIDY                          HAP SUBSIDY FOR MAY                              1122-000             25,421.00                                     92,119.94
06/21/10       {5}           MICHAEL PLACE                        1956 SIMTH OAK RENT                              1121-000                 407.50                                    92,527.44
06/21/10       {3}           KEY BANK                             CLOSE OUT ACCOUNTS                               1129-000                 440.13                                    92,967.57
06/25/10       {5}           LARRY DAVIS                          RENT                                             1121-000                 800.00                                    93,767.57
06/29/10                     To Account #9200******3566           TO PAY EXPENSES                                  9999-000                                         5,000.00          88,767.57
06/30/10         Int         The Bank of New York Mellon          Interest posting at 0.0700%                      1270-000                   3.98                                    88,771.55

                                                                                                        Subtotals :                   $124,824.47              $36,052.92
{} Asset reference(s)                              !-Not printed or not transmitted                                                                  Printed: 06/03/2011 09:53 AM        V.12.56
                                                   Case 09-60875-fra11                          Doc 586        Filed 06/06/11
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                                                      Cash Receipts And Disbursements Record
Case Number:           609-60875-FRA11                                                         Trustee:            KENNETH S. EILER (570105)
Case Name:             PARMENTER, BARBARA K.                                                   Bank Name:          The Bank of New York Mellon
                                                                                               Account:            9200-******35-65 - Money Market Account
Taxpayer ID #:         **-***5440                                                              Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                        Separate Bond: N/A

    1            2                           3                                    4                                            5                     6                     7

 Trans.     {Ref #} /                                                                                                      Receipts           Disbursements          Money Market
  Date      Check #             Paid To / Received From           Description of Transaction              T-Code              $                     $               Account Balance
07/02/10       {8}           HAP SUBSIDY                   JULY HAP SUBSIDY PAYMENT                       1121-000             26,547.00                                  115,318.55
07/02/10                     To Account #9200******3566    TO PAY EXPENSES                                9999-000                                   30,000.00             85,318.55
07/08/10       {5}           SHERRY FAUBUSH                RENT                                           1121-000              1,200.00                                   86,518.55
07/12/10       {5}           KRISTINE HUNT                 RENT AT SMITH OAK                              1121-000                 770.00                                  87,288.55
07/13/10       {5}           WADE SMITH                    RENT SMITH OAK                                 1121-000                 785.00                                  88,073.55
07/13/10                     To Account #9200******3566    FOR PAYROLL TAXES                              9999-000                                       1,000.00          87,073.55
07/13/10                     IRS                           VALUE WIRE PAYROLL TAX PAYMENT                 2990-000                                        910.06           86,163.49
07/16/10       {7}           ALLSTATE                      INSURANCE REFUND                               1229-000                   8.71                                  86,172.20
07/16/10       {5}           MIKE & DEBRA PLACE            RENT -- SMITH OAK                              1121-000                 815.00                                  86,987.20
07/16/10                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                   10,000.00             76,987.20
07/27/10                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                   20,000.00             56,987.20
07/27/10                     To Account #9200******3566    TO PAY BILLS AND PAYROLL                       9999-000                                   20,000.00             36,987.20
07/28/10       {7}           EWEB                          REFUND                                         1229-000                  63.34                                  37,050.54
07/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                    1270-000                   4.75                                  37,055.29
08/03/10       {8}           OREGON COMMUNITY HOUSING      HAP RENT SUBSIDY                               1121-000             25,407.00                                   62,462.29
08/06/10       {5}           KRSTINE HUNT                  RENT 1922 SMITHOAK                             1121-000                 770.00                                  63,232.29
08/15/10                     To Account #9200******3566    FORWARD SUBSIDY TO GUARDIAN                    9999-000                                   25,407.00             37,825.29
08/17/10       {7}           LANE COUNTY                   PROPERTY TAX REFUND                            1229-000                  89.52                                  37,914.81
08/17/10       {5}           WADE                          SMITH OAK RENT                                 1121-000                 735.00                                  38,649.81
08/17/10       {5}           SHERRY FAUBUSH                SOUTH 57TH RENT                                1121-000              1,200.00                                   39,849.81
08/17/10       {5}           CLINT WELLS                   CRESWELL RENT                                  1121-000              1,580.00                                   41,429.81
08/17/10       {5}           WADE SMITH                    CORRECTS ENTRY TYPO -- TOTAL RENT              1121-000                  50.00                                  41,479.81
                                                           $785 NOT $735
08/22/10       {5}           MIKE & DEBRA PLACE            SMITH OAK RENT                                 1121-000                 770.00                                  42,249.81
08/31/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                    1270-000                   3.11                                  42,252.92
09/05/10       {5}           LARRY DAVIS                   SMITH OAK RENTAL                               1121-000                 800.00                                  43,052.92
09/08/10                     To Account #9200******3566    TO TRANSFER SUBSIDY TO GUARDIAN                9999-000                                   26,547.00             16,505.92
09/12/10       {5}           FAUBUSH                       RENT                                           1121-000              1,200.00                                   17,705.92
09/14/10       {5}           WADE SMITH                    RENT SMITH OAK                                 1121-000                 750.00                                  18,455.92
09/14/10       {5}           KRISTINE HUNT                 RENT -- SMITH OAK                              1121-000                 770.00                                  19,225.92
09/21/10       {5}           MIKE & DEBRA PLACE            SMITH OAK RENT                                 1121-000                 400.00                                  19,625.92
09/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.20                                  19,626.12
10/04/10       {5}           LARRY DAVIS                   RENT                                           1121-000                 800.00                                  20,426.12
10/08/10       {5}           WADE SMITH                    RENT                                           1121-000                 785.00                                  21,211.12
10/08/10       {5}           ROBERT & SHERRY FAUBUSH       RENT                                           1121-000              1,200.00                                   22,411.12
10/14/10       {5}           MICHAEL & DEBRA PLACE         RENT                                           1121-000                 300.00                                  22,711.12
10/19/10       {5}           KRISTINE HUNT                 RENT 1920 SMITHOAK                             1121-000                 770.00                                  23,481.12

                                                                                               Subtotals :                    $68,573.63           $133,864.06
{} Asset reference(s)                                                                                                                       Printed: 06/03/2011 09:53 AM       V.12.56
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                                                      Cash Receipts And Disbursements Record
Case Number:           609-60875-FRA11                                                         Trustee:            KENNETH S. EILER (570105)
Case Name:             PARMENTER, BARBARA K.                                                   Bank Name:          The Bank of New York Mellon
                                                                                               Account:            9200-******35-65 - Money Market Account
Taxpayer ID #:         **-***5440                                                              Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                        Separate Bond: N/A

    1            2                           3                                    4                                            5                     6                     7

 Trans.     {Ref #} /                                                                                                      Receipts           Disbursements          Money Market
  Date      Check #             Paid To / Received From           Description of Transaction              T-Code              $                     $               Account Balance
10/23/10       {5}           CLINT WELLS                   CRESWELL RENT                                  1121-000              1,980.00                                   25,461.12
10/29/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.18                                  25,461.30
10/29/10                     To Account #9200******3566    TO PAY DEBTOR MONTHLY ALLOWANCE                9999-000                                       5,000.00          20,461.30
11/06/10                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                   10,000.00             10,461.30
11/07/10       {5}           MICHAEL & DEBRA PLACE         SMITH OAK RENTAL                               1121-000                 800.00                                  11,261.30
11/10/10       {5}           LARRY DAVIS                   SMITH OAK RENTAL                               1121-000                 800.00                                  12,061.30
11/10/10       {5}           ROBERT FAUBUSH                RENT 57TH ST.                                  1121-000              1,200.00                                   13,261.30
11/28/10                     To Account #9200******3566    TO PAY BARBARA                                 9999-000                                       3,000.00          10,261.30
11/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.12                                  10,261.42
12/01/10       {5}           LARRY DAVIS                   SMITH OAK RENT                                 1121-000                 800.00                                  11,061.42
12/05/10       {5}           ROBERT & SHERRY FAUBUSH       RENT                                           1121-000              1,200.00                                   12,261.42
12/15/10       {5}           KRISTINE HUNT                 SMITH OAK RENT                                 1121-000                 770.00                                  13,031.42
12/17/10                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                       4,000.00              9,031.42
12/19/10       {5}           WADE SMITH                    SMITH OAK RENT                                 1121-000                 785.00                                      9,816.42
12/27/10       {5}           WADE SMITH                    RENT                                           1121-000                 300.00                                  10,116.42
12/27/10                     To Account #9200******3566    TO PAY MONTHLY ALLOWANCE                       9999-000                                       5,067.07              5,049.35
12/27/10                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                        500.00               4,549.35
12/31/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.08                                      4,549.43
01/10/11       {5}           LARRY DAVIS                   RENT 1958 SMITH OAK                            1121-000                 800.00                                      5,349.43
01/14/11       {5}           PARMENTER                     RENT 57TH ST                                   1121-000              1,200.00                                       6,549.43
01/17/11       {5}           KRISTINE HUNT                 RENT SMITH OAK                                 1122-000                 770.00                                      7,319.43
01/19/11                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                       1,000.00              6,319.43
01/23/11       {5}           WADE SMITH                    RENT 1920 SMITH OAK                            1121-000                 635.00                                      6,954.43
01/26/11       {5}           CHRISTINE KING                1956 SMITH OAK RENT                            1121-000                 300.00                                      7,254.43
01/31/11       {5}           KRISTINE HUNT                 SMITH OAK RENT                                 1121-000                 770.00                                      8,024.43
01/31/11         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.04                                      8,024.47
02/01/11       {5}           LARRY DAVIS                   SMITH OAK RENT                                 1121-000                 800.00                                      8,824.47
02/01/11                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                       5,000.00              3,824.47
02/17/11       {5}           WADE SMITH                    RENT                                           1121-000                 275.00                                      4,099.47
02/25/11       {5}           MIKE & DEBRA PLACE            RENT                                           1121-000                 400.00                                      4,499.47
02/28/11         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.03                                      4,499.50
03/04/11       {5}           KRISINE HUNT                  RENT                                           1121-000                 770.00                                      5,269.50
03/08/11                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                        500.00               4,769.50
03/12/11       {5}           LARRY DAVIS                   RENT                                           1121-000                 800.00                                      5,569.50
03/22/11                     To Account #9200******3566    TO PAY BILLS                                   9999-000                                       1,000.00              4,569.50
03/31/11         Int         The Bank of New York Mellon   Interest posting at 0.0100%                    1270-000                   0.03                                      4,569.53
04/02/11       {5}           LARRY DAVIS                   RENT                                           1121-000                 800.00                                      5,369.53

                                                                                               Subtotals :                    $16,955.48            $35,067.07
{} Asset reference(s)                                                                                                                       Printed: 06/03/2011 09:53 AM        V.12.56
                                                   Case 09-60875-fra11                   Doc 586      Filed 06/06/11
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                                                     Cash Receipts And Disbursements Record
Case Number:           609-60875-FRA11                                                             Trustee:            KENNETH S. EILER (570105)
Case Name:             PARMENTER, BARBARA K.                                                       Bank Name:          The Bank of New York Mellon
                                                                                                   Account:            9200-******35-65 - Money Market Account
Taxpayer ID #:         **-***5440                                                                  Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                            Separate Bond: N/A

    1            2                           3                                    4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                          Receipts           Disbursements          Money Market
  Date      Check #             Paid To / Received From           Description of Transaction                  T-Code              $                     $               Account Balance
04/12/11       {5}           WADE SMITH                    SMITH OAK RENT                                     1121-000                 785.00                                      6,154.53
04/29/11       {5}           LARRY DAVIS                   RENT                                               1121-000                 800.00                                      6,954.53
04/29/11         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                   0.03                                      6,954.56

                                                                               ACCOUNT TOTALS                                     211,938.61            204,984.05             $6,954.56
                                                                                         Less: Bank Transfers                            0.00           203,021.07
                                                                               Subtotal                                           211,938.61                 1,962.98
                                                                                         Less: Payments to Debtors                                              0.00
                                                                               NET Receipts / Disbursements                      $211,938.61             $1,962.98




{} Asset reference(s)                                                                                                                           Printed: 06/03/2011 09:53 AM        V.12.56
                                                   Case 09-60875-fra11                   Doc 586           Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                          Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                    Bank Name:          The Bank of New York Mellon
                                                                                              Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                               Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                       Separate Bond: N/A

    1            2                          3                                   4                                             5                     6                     7

 Trans.     {Ref #} /                                                                                                     Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction              T-Code              $                     $               Account Balance
05/19/10                   From Account #9200******3565   TO PAY PAYROLL                                 9999-000              5,000.00                                       5,000.00
05/19/10       101         RICHARD G. UPWARD              PAYROLL 5-20-10                                2990-000                                        712.36               4,287.64
05/19/10       102         PHILIP HUDSON                  PAYROLL 5-20-10                                2990-000                                         74.26               4,213.38
05/19/10       103         SHERRY FAUBUSH                 PAYROLL 5-20-10                                2990-000                                        167.54               4,045.84
05/19/10       104         GERRY McCARRON                 PAYROLL 5-20-10                                2990-000                                         62.34               3,983.50
05/19/10       105         SHERYL EAGLEBARGER             PAYROLL 5-20-10                                2990-000                                        161.23               3,822.27
05/19/10       106         TRACEY MATTHEWS                PAYROLL 5-20-10                                2990-000                                        474.84               3,347.43
05/21/10       107         INTERNATIONAL SURETIES         BOND PREMIUM                                   2300-000                                        500.00               2,847.43
05/22/10                   From Account #9200******3565   TO PAY EXPENSES                                9999-000             10,000.00                                   12,847.43
05/22/10       108         BARBARA PARMENTER              PERSONAL EXPENSES FOR JUNE PER                 2990-000                                       5,000.00              7,847.43
                                                          COURT ORDER
05/22/10       109         VILLAGE EAST OPERATING         TO OPEN OPERATING ACCOUNT WITH                 9999-000                                       5,000.00              2,847.43
                                                          GUARDIAN
05/25/10       110         AUTUMN METZ                    CLEAN UP -- VILLAGE EAST                       2990-000                                        142.50               2,704.93
05/25/10       111         STEPHANIE BRUNIG               CLEAN UP -- VILLAGE EAST                       2990-000                                        145.35               2,559.58
05/25/10       112         GORDON UPWARD                  MAY AND JUNE STORAGE FEES                      2990-000                                        226.00               2,333.58
05/25/10       113         KAYLA BALDWIN                  REFUND OF SECURITY DEPOSIT -- 888              2990-000                                        900.00               1,433.58
                                                          57TH ST.
                                                          Stopped on 06/04/10
05/26/10       114         GORDON UPWARD                  UHAUL RENTAL AND GAS                           2990-000                                        100.00               1,333.58
06/04/10       113         KAYLA BALDWIN                  REFUND OF SECURITY DEPOSIT -- 888              2990-000                                        -900.00              2,233.58
                                                          57TH ST.
                                                          Stopped: check issued on 05/25/10
06/04/10       115         KAYLA BALDWIN                  REFUND OF SECURITY DEPOSIT -- 888              2990-000                                        900.00               1,333.58
                                                          57TH ST.
06/06/10       {5}         MICHAEL & DEBRA PLACE          RENT                                           1121-000                 407.50                                      1,741.08
06/06/10       {5}         KRISTINE HUNT                  PAYMENT ON SMITH OAK                           1121-000                 770.00                                      2,511.08
06/06/10       {5}         LARRY T. DAVIS                 RENT AT SMITH OAK                              1121-000                 800.00                                      3,311.08
06/06/10       {6}         CASCADE ESCROW                 BALANCE IN ESCROW ACCOUNT RE UNIT              1129-000              2,855.00                                       6,166.08
                                                          31 REPAIRS
06/07/10       116         PHIL HUDSON                    FINAL PAYROLL                                  2990-000                                        183.70               5,982.38
06/07/10       117         RYAN BRAZELL                   FINAL PAYROLL                                  2990-000                                        137.29               5,845.09
                                                          Stopped on 06/14/10
06/07/10       118         SHERRY FAUBUSH                 FINAL PAYROLL                                  2990-000                                        476.69               5,368.40
06/07/10       119         RICHARD UPWARD                 PAYROLL                                        2990-000                                        801.49               4,566.91
06/07/10       120         TRACEY MATTHEWS                FINAL PAYROLL                                  2990-000                                        741.21               3,825.70
06/08/10       121         BARBARA PARMENTER              PAYMENT FOR SOCIAL SECURITY                    8100-002                                        629.00               3,196.70
06/11/10                   From Account #9200******3565   TO PAY BILLS                                   9999-000             10,000.00                                   13,196.70

                                                                                              Subtotals :                    $29,832.50            $16,635.80
{} Asset reference(s)                                                                                                                      Printed: 06/03/2011 09:53 AM        V.12.56
                                                 Case 09-60875-fra11                 Doc 586         Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                          Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                    Bank Name:          The Bank of New York Mellon
                                                                                              Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                               Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                       Separate Bond: N/A

    1            2                         3                                      4                                           5                     6                     7

 Trans.     {Ref #} /                                                                                                     Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction              T-Code              $                     $               Account Balance
06/11/10       122         ALLSTATE INSURANCE             PREMIUMS DUE FOR CAR, SMITH OAK                2420-750                                       1,473.41          11,723.29
                                                          AND CRESWELL
06/11/10       123         FARMERS INSURANCE              VILLAGE EAST APTS POLICY #035060068            2420-750                                       8,560.00              3,163.29
06/11/10       124         FARMERS INSURANCE              BUSINESS OWNER POLICY #73-03506-00-69          2420-750                                       1,950.00              1,213.29
06/14/10                   From Account #9200******3565   TO PAY BILLS                                   9999-000              5,000.00                                       6,213.29
06/14/10       117         RYAN BRAZELL                   FINAL PAYROLL                                  2990-000                                        -137.29              6,350.58
                                                          Stopped: check issued on 06/07/10
06/14/10       125         NW NATURAL GAS                 1922 SMITH OAK -- ACCT # 1488466-2             2990-000                                         11.36               6,339.22
06/14/10       126         EMERALD DOOR                   REPAIRS                                        2990-000                                        386.31               5,952.91
06/14/10       127         QWEST                          ACCT NO: 541-746-1461 407B                     2990-000                                        162.46               5,790.45
06/14/10       128         RELIABLE OFFICE SUPPLIES       ACCOUNT # 00412288                             2990-000                                        199.65               5,590.80
06/14/10       129         FAR WEST CARPET ETC. INC.      VILLAGE EAST APARTMENTS                        2990-000                                        783.40               4,807.40
06/14/10       130         RYAN BRAZELL                   REPLACES STOPPED PAYROLL CHECK                 2990-000                                        137.29               4,670.11
06/14/10                   U.S. TREASURY                  VALUE FEDWIRE TRANSFER MAY 2010                2810-000                                        683.65               3,986.46
06/16/10       131         WADE SMITH                     PAYROLL                                        2990-000                                        187.30               3,799.16
06/16/10       132         TIM BATES                      VILLAGE EAST HUD ACCOUNTING                    2990-000                                        400.00               3,399.16
06/22/10       133         KEY BANK                       FEE FOR COPIES OF CANCELED CHECKS              2990-000                                        200.00               3,199.16
06/23/10       134         GARY UPWARD                    FINAL PAYCHECK                                 2990-000                                        924.59               2,274.57
                                                          Stopped on 06/30/10
06/25/10       135         KIM DEEDS                      DEPOSIT REFUND                                 2990-000                                       1,200.00              1,074.57
06/26/10       136         CHRIS MILLS                    FOR POOL CHEMICALS AT LOWELL                   2990-000                                         54.00               1,020.57
06/26/10       137         KIM DEEDS                      FOR POOL CHEMICALS AT LOWELL                   2990-000                                        100.00                920.57
06/29/10                   From Account #9200******3565   TO PAY EXPENSES                                9999-000              5,000.00                                       5,920.57
06/29/10       138         AAA BUDGET STORAGE             STORAGE FOR 6 MONTHS THROUGH                   2990-000                                        948.00               4,972.57
                                                          12-31-10 ---- UNIT A9
06/30/10       134         GARY UPWARD                    FINAL PAYCHECK                                 2990-000                                        -924.59              5,897.16
                                                          Stopped: check issued on 06/23/10
07/01/10       139         GORDON UPWARD                  REISSUED PAYROLL CHECK                         2990-000                                        924.59               4,972.57
07/02/10                   From Account #9200******3565   TO PAY EXPENSES                                9999-000             30,000.00                                   34,972.57
07/02/10       140         GUARDIAN MANAGEMENT LLC        JUNE SUBSIDY                                   2990-000                                   27,768.00                 7,204.57
07/02/10       141         KNECHT'S AUTO PARTS #34        ACCOUNT NO.: 32770                             2990-000                                         50.53               7,154.04
07/02/10       142         ELITE CARPET CARE &            INVOICE: 366136; 366276; 366396                2990-000                                        145.00               7,009.04
                           INSPECTIONS
07/02/10       143         SPRINGFIELD UTILITY BOARD      VILLAGE EAST UTILITIES                         2990-000                                         26.36               6,982.68
                                                          Stopped on 07/16/10
07/02/10       144         SPRINGFIELD UTILITY BOARD      VILLAGE EAST UTILITIES                         2990-000                                         26.59               6,956.09
07/02/10       145         SPRINGFIELD UTILITY BOARD      VILLAGE EAST UTILITIES                         2990-000                                         18.96               6,937.13
07/02/10       146         SANIPAC                        ACCT NO: 02-26-3                               2990-000                                       1,036.47              5,900.66
                                                                                               Subtotals :                   $40,000.00            $47,296.04
{} Asset reference(s)                                                                                                                      Printed: 06/03/2011 09:53 AM        V.12.56
                                                 Case 09-60875-fra11                  Doc 586         Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                                 Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                           Bank Name:          The Bank of New York Mellon
                                                                                                     Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                                      Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                              Separate Bond: N/A

    1            2                         3                                          4                                              5                       6                    7

 Trans.     {Ref #} /                                                                                                            Receipts              Disbursements           Checking
  Date      Check #           Paid To / Received From                   Description of Transaction              T-Code              $                        $              Account Balance
07/02/10       147         OJIN ONLINE SERVICES                ACCT NO: 000692-BAP                              2990-000                                           20.00              5,880.66
07/02/10       148         BAC HOME LOAN SERVICING LP          2ND MORTGAGE ON 888 S 57TH ST.                   4110-000                                          113.09              5,767.57
07/02/10       149         NOTEWORLD SERVICING                 MORTGAGE -- SUBDIVISION                          4110-000                                          855.31              4,912.26
                           CENTER
07/02/10       150         EWEB                                UTILITY CHARGES: 1956 SMITH OAK                  2990-000                                           15.04              4,897.22
07/02/10       151         NW NATURAL GAS                      UTILITY CHARGES: 1922 SMITH OAK                  2990-000                                           11.36              4,885.86
07/02/10       152         DALTILE                             SUPPLIES VILLAGE EAST                            2990-000                                          102.40              4,783.46
07/03/10       153         BARBARA PARMENTER                   MONTHLY ALLOWANCE                                2990-000                                         4,036.78              746.68
07/08/10       154         TWO BROTHERS MOVE ALL               TRANSFER RECORDS FROM OFFICE TO                  2990-000                                          320.00               426.68
                                                               STORAGE AND HOUSE
07/09/10                   SPRINGFIELD UTILITY BOARD           Check #145 Paid Twice By Bank                    2990-000                                           18.96               407.72
07/12/10       155         OREGON DEPT OF REVENUE              PAYROLL TAX -- 2ND QTR                           2690-730                                          230.00               177.72
07/13/10                   From Account #9200******3565        FOR PAYROLL TAXES                                9999-000              1,000.00                                        1,177.72
07/13/10       156         OREGON DEPT OF REVENUE              PAYROLL TAX -- 2ND QTR                           2690-730                                          131.00              1,046.72
07/15/10       157         BARBARA PARMENTER                   REPLACES DEDUCTION FOR SOCIAL                    2990-000                                          629.00               417.72
                                                               SECURITY CHECK
07/16/10                   From Account #9200******3565        TO PAY BILLS                                     9999-000             10,000.00                                     10,417.72
07/16/10       143         SPRINGFIELD UTILITY BOARD           VILLAGE EAST UTILITIES                           2990-000                                           -26.36          10,444.08
                                                               Stopped: check issued on 07/02/10
07/16/10       158         EUGENE WATER AND ELECTRIC           1956 SMITH OAK                                   2990-000                           !               63.34           10,380.74
                                                               Voided on 07/16/10
07/16/10       158         EUGENE WATER AND ELECTRIC           1956 SMITH OAK                                   2990-000                           !               -63.34          10,444.08
                                                               Voided: check issued on 07/16/10
07/16/10       159         BAC HOME LOANS SERVICING LP         MORTGAGE 888 S. 57TH ACCOUNT                     4110-000                                         2,845.19             7,598.89
                                                               #168387308
07/16/10       160         BAC HOME LOANS SERVICING LP         1920-1922 SMITH OAK -- ACCOUNT                   4110-000                                         1,011.77             6,587.12
                                                               #022388701
07/16/10       161         NOTEWORLD SERVICING                 ACCOUNT # 923617 -- SUBDIV PROPERTY              4110-000                                          612.40              5,974.72
                           CENTER
07/16/10       162         SPRINGFIELD UTILITY BOARD           CLOSING BILL FOR 888 S. 57TH -                   2990-000                                            7.40              5,967.32
                                                               ACCOUNT #1463543
07/16/10       163         OREGON DMV                          ACCT # 07676                                     2990-000                                            2.50              5,964.82
07/16/10       164         GUARD PUBLISHING                    ADVERTISING -- ACCT #1007416                     2990-000                                          229.60              5,735.22
07/16/10       165         FOREST PAINT CO.                    CUST # VIL06; REF NO.: 001046901 &               2990-000                                          113.85              5,621.37
                                                               001047181
07/16/10       166         TENANT DATA                         BACKGROUND CHECKS                                2990-000                                          298.00              5,323.37
07/16/10       167         BAC HOME LOANS SERVICING LP         2ND MORT. 888 S. 57TH ACCT # 087665736           4110-000                                          109.44              5,213.93
07/16/10       168         RELIABLE OFFICE SUPPLIES            CUST NO.: 004112288                              2950-000                                          202.36              5,011.57

                                                                                                     Subtotals :                    $11,000.00              $11,889.09
{} Asset reference(s)                           !-Not printed or not transmitted                                                                  Printed: 06/03/2011 09:53 AM         V.12.56
                                                 Case 09-60875-fra11                      Doc 586           Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                          Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                    Bank Name:          The Bank of New York Mellon
                                                                                              Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                               Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                       Separate Bond: N/A

    1            2                         3                                    4                                             5                     6                     7

 Trans.     {Ref #} /                                                                                                     Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction              T-Code              $                     $               Account Balance
07/22/10       169         U.S. TREASURY                  FEDERAL UNEMPLOYMENT TAX REPORT                2990-000                                        211.00               4,800.57
07/22/10       170         OREGON DEPARTMENT OF           QUATERLY COMBINED TAX REPORT AND               2990-000                                        724.64               4,075.93
                           REVENUE                        FORM 132
07/27/10                   From Account #9200******3565   TO PAY BILLS                                   9999-000             20,000.00                                   24,075.93
07/27/10                   From Account #9200******3565   TO PAY BILLS AND PAYROLL                       9999-000             20,000.00                                   44,075.93
07/27/10       171         CITY OF LOWELL                 UTILITIES                                      2990-000                                         64.96           44,010.97
07/27/10       172         UMPQUA BANK                    JULY PAYMENT -- VILLAGE EAST                   4110-000                                       9,985.19          34,025.78
07/27/10       173         ACTION RENT-ALL                EQUIPMENT RENTAL                               2990-000                                        164.50           33,861.28
07/27/10       174         OJIN                           INVOICE NO.: K37762                            2990-000                                         10.00           33,851.28
07/27/10       175         US TRUSTEE                     QUARTERLY FEES                                 2950-000                                       1,625.00          32,226.28
07/27/10       176         EUGENE WATER & ELECTRIC        UTILITIES 1920 SMITH OAK                       2990-000                                         59.88           32,166.40
                           BOARD
07/27/10       177         EUGENE WATER & ELECTRIC        UTILITY -- 1956 SMITH OAK                      2990-000                                         57.10           32,109.30
                           BOARD
07/27/10       178         ASSET RECOVERY GROUP INC       UTILITIES OWING FROM APRIL 2009 ON             2990-000                                        266.42           31,842.88
                                                          CRESCENT PROP PER DEBTOR
07/27/10       179         BARBARA PARMENTER              REIMBURSEMENTS PER LETTER OF JULY              2990-000                                       1,629.20          30,213.68
                                                          26, 2010
07/27/10       180         BARBARA PARMENTER              MONTHLY ALLOWANCE FOR AUGUST                   2990-000                                       5,117.39          25,096.29
07/27/10       181         COMMERCIAL DRAPERY &           REPAIRS                                        2990-000                                        165.00           24,931.29
                           BLINDS                         Stopped on 08/18/10
07/28/10       182         LANE ELECTRIC                  LOWELL UTILITIES                               2990-000                                        137.77           24,793.52
07/30/10       183         UNITED STATES TREASURY         XX-XXXXXXX, FORM 941-X, AND 3/31/2010          2990-000                                        393.49           24,400.03
07/30/10       184         OREGON DEPARTMENT OF           AMENDED QUARTERLY TAX REPORT                   2990-000                                        216.06           24,183.97
                           REVENUE
08/01/10       {5}         LARRY DAVIS                    SMITH OAK RENT                                 1121-000                 800.00                                  24,983.97
08/07/10       185         GENE ROLLINS                   MOVING OFFICE FILES IN JUNE                    2990-000                                        448.00           24,535.97
08/07/10       186         NOTEWORLD SERVICING            DEBTOR' ESTATE'S SHARE OF AUGUST               4110-000                                        284.44           24,251.53
                           CENTER                         PAYMENT -- SUBDIVISION PROP
08/15/10                   From Account #9200******3565   FORWARD SUBSIDY TO GUARDIAN                    9999-000             25,407.00                                   49,658.53
08/15/10       187         GUARDIAN MANAGMENT             FORWARD HAP SUBSIDY                            2990-000                                   25,407.00             24,251.53
08/18/10       181         COMMERCIAL DRAPERY &           REPAIRS                                        2990-000                                        -165.00          24,416.53
                           BLINDS                         Stopped: check issued on 07/27/10
08/18/10       188         KEN EILER                      REIMBURSE CREDIT FOR PLUMBING                  2990-000                                        188.00           24,228.53
                                                          REPAIRS TO SOUTH 57TH
08/24/10       189         BAC HOME LOANS SERVICING       1920-1922 SMITH OAK ST                         4110-000                                       1,011.77          23,216.76
08/24/10       190         BAC HOME LOANS SERVICING       888 SW 57TH ST                                 4110-000                                       2,845.19          20,371.57
08/24/10       191         BAC HOME LOANS SERVICING       888 SW 57TH                                    4110-000                                       1,011.77          19,359.80

                                                                                              Subtotals :                    $66,207.00            $51,858.77
{} Asset reference(s)                                                                                                                      Printed: 06/03/2011 09:53 AM        V.12.56
                                                 Case 09-60875-fra11                 Doc 586         Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                           Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                     Bank Name:          The Bank of New York Mellon
                                                                                               Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                                Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                        Separate Bond: N/A

    1            2                         3                                    4                                              5                     6                     7

 Trans.     {Ref #} /                                                                                                      Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction              T-Code              $                     $               Account Balance
08/24/10       192         EWEB                           1920 SMITH OAK ST                               2990-000                                        150.99           19,208.81
08/24/10       193         EWEB                           1956 SMITH OAK ST                               2990-000                                        365.40           18,843.41
08/24/10       194         EWEB                           1922 SMITHOAK ST                                2990-000                                          7.81           18,835.60
08/24/10       195         OJIN ONLINE SERVICES           MONTHLY USAGE FEE                               2990-000                                         10.00           18,825.60
08/28/10       196         BARBARA PARMENTER              AUGUST PERSONAL EXPENSES PER                    2990-000                                       5,117.39          13,708.21
                                                          COURT ORDER
09/06/10       197         LANE ELECTRIC COOPERATIVE      UTILITIES: LOWELL PROPERTY                      2990-000                                        138.56           13,569.65
09/07/10       198         SHERYL EAGLEBARGER             MOVE OFFICE IN JUNE                             2990-000                                        187.50           13,382.15
09/07/10       199         RICHARD GEORGE                 MOVE OFFICE IN JUNE                             2990-000                                         84.00           13,298.15
09/08/10                   From Account #9200******3565   TO TRANSFER SUBSIDY TO GUARDIAN                 9999-000             26,547.00                                   39,845.15
09/08/10       200         GUARDIAN MANAGEMENT            JULY HAP SUBSIDY                                2990-000                                   26,547.00             13,298.15
09/13/10       201         BANK OF AMERICA                888 S. 57TH AVE                                 4110-000                                        113.09           13,185.06
09/13/10       202         CITY OF LOWELL                 UTILITIES                                       2990-000                                        277.12           12,907.94
09/15/10       203         NOTEWORLD SERVICING            DEBTOR'S SHARE OF SUBDIVISION                   4110-000                                        284.44           12,623.50
                           CENTER                         MORTGAGE PAYMENT
09/15/10       204         BAC HOME LOANS SERVICING       888 S 57TH ST                                   4110-000                                       2,454.27          10,169.23
09/15/10       205         BARBARA PARMENTER              REIMBURSE FOR COLLECTING AND                    2990-000                                        142.49           10,026.74
                                                          DELIVERING RECORDS TO AUDITOR
09/17/10       206         PGP VALUATION INC              RENT COMPARABILITY STUDY                        2990-000                                       3,000.00              7,026.74
                                                          Stopped on 09/28/10
09/24/10       207         BAC HOME LOANS SERVICING LP    1920-22 SMITH OAK ST                            4110-000                                       1,011.77              6,014.97
09/26/10       208         EWEB                           UTILITIES 1956 SMITH OAK                        2990-000                                         70.00               5,944.97
09/26/10       209         EWEB                           1920 SMITHOAK ST                                2990-000                                         66.27               5,878.70
09/28/10       206         PGP VALUATION INC              RENT COMPARABILITY STUDY                        2990-000                                    -3,000.00                8,878.70
                                                          Stopped: check issued on 09/17/10
09/28/10       210         BARBARA PARMENTER              MONTHLY ALLOWANCE PER COURT                     2990-000                                       5,117.39              3,761.31
                                                          ORDER
10/05/10       211         LANE ELECTRIC                  LOWELL PROPERTY                                 2990-000                                         81.71               3,679.60
10/16/10       212         BAC HOME LOANS SERVICING       1920 - 1922 SMITH OAK ST                        2990-000                                       1,054.13              2,625.47
10/16/10       213         CITY OF LOWELL                 WATER BILL                                      2990-000                                        131.63               2,493.84
10/18/10       214         EWEB                           UTILITIES 1956 SMITH OAK                        2990-000                                         61.68               2,432.16
10/18/10       215         EWEB                           UTILITIES -- 1920 SMITH OAK                     2990-000                                         66.27               2,365.89
10/29/10                   From Account #9200******3565   TO PAY DEBTOR MONTHLY ALLOWANCE                 9999-000              5,000.00                                       7,365.89
10/29/10       216         BARBARA PARMENTER              MONTHLY ALLOWANCE                               2990-000                                       5,117.39              2,248.50
10/30/10       217         LANE ELECTRIC                  UTILITIES LOWELL PROPERTY ACCT #                2990-000                                         34.34               2,214.16
                                                          2929900
11/02/10       218         BAC HOME LOAN SERVICING        1920 SMITH OAK                                  4110-000                                       1,011.77              1,202.39
11/02/10       219         ALLSTATE INDEMNITY COMPANY     INSURANCE                                       2990-000                                        962.46                239.93
                                                                                               Subtotals :                    $31,547.00            $50,666.87
{} Asset reference(s)                                                                                                                       Printed: 06/03/2011 09:53 AM        V.12.56
                                                 Case 09-60875-fra11                 Doc 586          Filed 06/06/11
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                            Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                      Bank Name:          The Bank of New York Mellon
                                                                                                Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                                 Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                         Separate Bond: N/A

    1            2                         3                                   4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                       Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From            Description of Transaction                T-Code              $                     $               Account Balance
11/06/10                   From Account #9200******3565   TO PAY BILLS                                     9999-000             10,000.00                                   10,239.93
11/06/10       220         BAC HOME LOANS SERVICING LP    888 S. 57TH ST                                   4110-000                                       2,845.19              7,394.74
11/06/10       221         BAC HOME LOANS SERVICING LP    888 S. 57TH --- 2ND MORTGAGE                     4110-000                                        109.44               7,285.30
11/06/10       222         NOTEWORLD SERVICING            SUBDIVISION PAYMENT -- WAFFORD                   4110-000                                        853.31               6,431.99
                           CENTER
11/06/10       223         US TRUSTEE                     QUARTERLY FEES                                   2950-000                                       1,625.00              4,806.99
11/11/10       224         BAC HOME LOANS SERVICING       1920 - 1922 SMITH OAK ST                         2990-000                                       1,054.13              3,752.86
11/18/10       {5}         WADE SMITH                     RENT ON SMITH OAk                                1121-000                 785.00                                      4,537.86
11/20/10       225         BAC HOME LOAN SERVICING        1920 SMITH OAK                                   4110-000                                       1,011.77              3,526.09
11/20/10       226         EWEB                           UTILITIES -- 1920 SMITH OAK                      2990-000                                         52.51               3,473.58
11/20/10       227         EWEB                           UTILITIES 1956 SMITH OAK                         2990-000                                         57.10               3,416.48
11/28/10                   From Account #9200******3565   TO PAY BARBARA                                   9999-000              3,000.00                                       6,416.48
11/28/10       228         BARBARA PARMENTER              MONTHLY ALLOWANCE                                2990-000                                       5,117.39              1,299.09
11/28/10       229         ALLSTATE INSURANCE             LANDLORD POLICY                                  2990-000                                         60.24               1,238.85
11/28/10       230         ALLSTATE INSURANCE             LANDLORD POLICY                                  2990-000                                         58.52               1,180.33
12/08/10       231         LANE ELECTRIC COOPERATIVE      LOWELL UTILITIES                                 2990-000                                        129.08               1,051.25
12/08/10       232         ALLSTATE INSURANCE             LANDLORD POLICY                                  2990-000                                        117.03                934.22
12/08/10       233         ALLSTATE INSURANCE             LANDLORD POLICY                                  2990-000                                        120.46                813.76
12/10/10       234         AAA BUDGET STORAGE             RENT THROUGH 4-30-11 FOR UNIT A-9                2990-000                                        632.00                181.76
12/16/10       235         ALLSTATE INSURANCE             LANDLORD POLICY -- 1956 SMITH OAK                2990-000                                        120.46                 61.30
12/16/10       236         ALLSTATE INSURANCE             LANDLORD POLICY -- 1922 SMITH OAK                2990-000                                        117.03                 -55.73
12/17/10                   From Account #9200******3565   TO PAY BILLS                                     9999-000              4,000.00                                       3,944.27
12/17/10       237         BAC HOME LOAN SERVICING        1920 SMITH OAK                                   4110-000                                       1,011.77              2,932.50
12/17/10       238         BAC HOME LOANS SERVICING LP    888 S. 57TH --- 2ND MORTGAGE                     4110-000                                        105.95               2,826.55
12/17/10       239         BAC HOME LOANS SERVICING LP    888 S. 57TH ST                                   4110-000                                       2,845.19                -18.64
12/24/10                   SPRINGFIELD UTILITY BOARD      Check #145 Paid Twice - BNYM Refund              2990-000                                         -18.96                 0.32
12/27/10                   From Account #9200******3565   TO PAY MONTHLY ALLOWANCE                         9999-000              5,067.07                                       5,067.39
12/27/10                   From Account #9200******3565   TO PAY BILLS                                     9999-000                 500.00                                      5,567.39
12/27/10       240         BARBARA PARMENTER              MONTHLY ALLOWANCE                                2990-000                                       5,117.39               450.00
12/27/10       241         EWEB                           UTILITIES 1956 SMITH OAK                         2990-000                                         57.10                392.90
12/27/10       242         EWEB                           UTILITIES -- 1920 SMITH OAK                      2990-000                                         57.10                335.80
01/03/11       243         LANE ELECTRIC                  LOWELL PROPERTY UTILITIES                        2990-000                                         46.98                288.82
01/06/11       244         CHRIS MILLS                    POOL MAINTENANCE AT LOWELL                       2990-000                                        210.00                 78.82
01/19/11                   From Account #9200******3565   TO PAY BILLS                                     9999-000              1,000.00                                       1,078.82
01/19/11       245         EWEB                           UTILITIES -- 1920 SMITH OAK                      2990-000                                         61.68               1,017.14
01/19/11       246         EWEB                           UTILITIES 1956 SMITH OAK                         2990-000                                         52.51                964.63
02/01/11                   From Account #9200******3565   TO PAY BILLS                                     9999-000              5,000.00                                       5,964.63

                                                                                                Subtotals :                    $29,352.07            $23,627.37
{} Asset reference(s)                                                                                                                        Printed: 06/03/2011 09:53 AM        V.12.56
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                             Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                       Bank Name:          The Bank of New York Mellon
                                                                                                 Account:            9200-******35-66 - Checking Account
Taxpayer ID #:       **-***5440                                                                  Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                          Separate Bond: N/A

    1            2                          3                                    4                                               5                     6                     7

 Trans.     {Ref #} /                                                                                                        Receipts           Disbursements            Checking
  Date      Check #           Paid To / Received From             Description of Transaction                T-Code              $                     $               Account Balance
02/01/11       247         BAC HOME LOANS SERVICING       SMITH OAK ST                                      2990-000                                        993.52               4,971.11
02/01/11       248         BAC HOME LOAN SERVICING        SMITH OAK                                         4110-000                                       1,011.77              3,959.34
02/01/11       249         LANE ELECTRIC                  LOWELL PROPERTY UTILITIES                         2990-000                                         54.43               3,904.91
02/01/11       250         US TRUSTEE PAYMENT CENTER      QUARTERLY FEES                                    2950-000                                        975.00               2,929.91
02/05/11       251         ACTION SERVICES                EVICTION PROCEEDINGS FOR CRESWELL                 2990-000                                        250.00               2,679.91
                                                          TENANT
02/22/11       252         ALLSTATE INSURANCE             INSURANCE ON CRESWELLL TO 2-27-12                 2990-000                                        391.42               2,288.49
02/25/11                   From Account #9200******3567   TO PAY BILLS                                      9999-000              1,918.91                                       4,207.40
02/25/11       253         ROBERT & SHERRY FAUBUSH        DEPOSIT REFUND                                    2990-000                                       2,000.00              2,207.40
02/25/11       254         CITY OF LOWELL                 FINAL WATER BILL                                  2990-000                                        124.96               2,082.44
02/25/11       255         BAC HOME LOAN SERVICING        SMITH OAK                                         4110-000                                        993.52               1,088.92
02/25/11       256         US TRUSTEE                     QUARTERLY FEES                                    2950-000                                        975.00                113.92
02/25/11       257         EWEB                           UTILITIES 1956 SMITH OAK                          2990-000                                         43.33                 70.59
02/25/11       258         EWEB                           UTILITIES -- 1920 SMITH OAK                       2990-000                                         57.10                 13.49
03/08/11                   From Account #9200******3565   TO PAY BILLS                                      9999-000                 500.00                                       513.49
03/08/11       259         LANE ELECTRIC                  LOWELL PROPERTY UTILITIES SERVICE                 2990-000                                        141.41                372.08
                                                          TO 2-16-11
03/14/11       260         ACTION SERVICES                FOR NOTICE OF RESTITUTION                         2990-000                                         50.00                322.08
03/14/11       261         CB LOCKSMITHING                REKEY LOCKS                                       2990-000                                         63.00                259.08
03/14/11       262         CKL STREET INC                 CLEAN UP OF CRESWELL                              2990-000                                        220.00                 39.08
03/15/11       {5}         WADE SMITH                     RENT                                              1121-000                 485.00                                       524.08
03/22/11                   From Account #9200******3565   TO PAY BILLS                                      9999-000              1,000.00                                       1,524.08
03/22/11       263         INTERNATIONAL SURETIES LTD     BOND PREMIUM                                      2300-000                                        500.00               1,024.08
03/22/11       264         EWEB                           UTILITIES -- 1920 SMITH OAK                       2990-000                                        117.13                906.95
03/22/11       265         EWEB                           UTILITIES 1956 SMITH OAK                          2990-000                                         47.92                859.03
03/24/11                   U. S. TREASURY                 Reverse Wire Transfer Debit #5- Incorrect         2690-000                                    -3,026.00                3,885.03
                                                          Case
03/24/11                   U. S. TREASURY                 VALUE WIRE TRANSFER: 941 TAX                      2690-000                                       3,026.00               859.03
04/14/11       266         ACTION SERVICES                BALANCE OWING ON CRESWELL EVICTION 2990-000                                                         5.00                854.03
04/14/11       267         LANE ELECTRIC                  LOWELL CLOSING STMT                               2990-000                                         86.89                767.14
04/29/11       268         EWEB                           UTILITIES 1956 SMITH OAK                          2990-000                                         47.92                719.22
04/29/11       269         EWEB                           UTILITIES -- 1920 SMITH OAK                       2990-000                                         86.00                633.22

                                                                               ACCOUNT TOTALS                                   211,842.48            211,209.26                 $633.22
                                                                                      Less: Bank Transfers                      204,939.98                 5,000.00
                                                                               Subtotal                                           6,902.50            206,209.26
                                                                                      Less: Payments to Debtors                                             629.00
                                                                               NET Receipts / Disbursements                      $6,902.50           $205,580.26



{} Asset reference(s)                                                                                                                         Printed: 06/03/2011 09:53 AM        V.12.56
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                                                      Cash Receipts And Disbursements Record
Case Number:           609-60875-FRA11                                                             Trustee:            KENNETH S. EILER (570105)
Case Name:             PARMENTER, BARBARA K.                                                       Bank Name:          The Bank of New York Mellon
                                                                                                   Account:            9200-******35-67 - Money Market Account
Taxpayer ID #:         **-***5440                                                                  Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                            Separate Bond: N/A

    1            2                           3                                    4                                                5                     6                     7

 Trans.     {Ref #} /                                                                                                          Receipts           Disbursements          Money Market
  Date      Check #             Paid To / Received From           Description of Transaction                  T-Code              $                     $               Account Balance
05/20/10       {4}           KEY BANK ACCT #4738           SECURITY DEPOSIT ACCOUNT                           1129-000             11,002.97                                   11,002.97
05/28/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                        1270-000                  0.16                                   11,003.13
06/14/10      1001           GUARDIAN MANAGEMENT LLC       SECURITY DEPOSIT TRANSFER TO                       9999-000                                       9,085.00              1,918.13
                                                           GUARDIAN SEC DEP ACCT FOR VILLAGE
                                                           EAST
06/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                        1270-000                  0.49                                       1,918.62
07/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                        1270-000                  0.11                                       1,918.73
08/31/10         Int         The Bank of New York Mellon   Interest posting at 0.0700%                        1270-000                  0.12                                       1,918.85
09/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                  0.01                                       1,918.86
10/29/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                  0.01                                       1,918.87
11/30/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                  0.01                                       1,918.88
12/31/10         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                  0.01                                       1,918.89
01/31/11         Int         The Bank of New York Mellon   Interest posting at 0.0100%                        1270-000                  0.01                                       1,918.90
02/25/11         Int         The Bank of New York Mellon   Current Interest Rate is 0.0100%                   1270-000                  0.01                                       1,918.91
02/25/11                     To Account #9200******3566    TO PAY BILLS                                       9999-000                                       1,918.91                 0.00

                                                                               ACCOUNT TOTALS                                      11,003.91             11,003.91                   $0.00
                                                                                         Less: Bank Transfers                           0.00             11,003.91
                                                                               Subtotal                                            11,003.91                    0.00
                                                                                         Less: Payments to Debtors                                              0.00
                                                                               NET Receipts / Disbursements                       $11,003.91                   $0.00




{} Asset reference(s)                                                                                                                           Printed: 06/03/2011 09:53 AM        V.12.56
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                                                   Cash Receipts And Disbursements Record
Case Number:         609-60875-FRA11                                                       Trustee:            KENNETH S. EILER (570105)
Case Name:           PARMENTER, BARBARA K.                                                 Bank Name:          The Bank of New York Mellon
                                                                                           Account:            9200-******35-68 - Money Market Account
Taxpayer ID #:       **-***5440                                                            Blanket Bond:       $0.00 (per case limit)
Period Ending: 04/30/11                                                                    Separate Bond: N/A

    1            2                         3                                4                                              5                     6                     7

 Trans.     {Ref #} /                                                                                                  Receipts           Disbursements          Money Market
  Date      Check #           Paid To / Received From         Description of Transaction              T-Code              $                     $               Account Balance
04/14/11       {5}         KRISTINE HUNT                RENT 1922 SMITH OAK                           1121-000                  770.00                                      770.00

                                                                          ACCOUNT TOTALS                                        770.00                  0.00               $770.00
                                                                                 Less: Bank Transfers                             0.00                  0.00
                                                                          Subtotal                                              770.00                  0.00
                                                                                 Less: Payments to Debtors                                              0.00
                                                                          NET Receipts / Disbursements                         $770.00                 $0.00



                                                                                                                              Net                Net                   Account
                                                                          TOTAL - ALL ACCOUNTS                              Receipts        Disbursements              Balances

                                                                          MMA # 9200-******35-65                          211,938.61                 1,962.98              6,954.56
                                                                          Checking # 9200-******35-66                       6,902.50            205,580.26                  633.22
                                                                          MMA # 9200-******35-67                           11,003.91                    0.00                  0.00
                                                                          MMA # 9200-******35-68                                770.00                  0.00                770.00

                                                                                                                         $230,615.02           $207,543.24             $8,357.78




{} Asset reference(s)                                                                                                                   Printed: 06/03/2011 09:53 AM        V.12.56
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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post          Total   Date
                      Bank                                   Check#          Vendor                                       Date         Month      Amount     Reconciled
                      971ssop - Village East Apartments OP     101           guar438 - Guardian Management LLC            06/10/2010   06/2010   3,252.00    06/30/2010
                      971ssop - Village East Apartments OP     102           scre500 - Screeners, Inc.                    06/10/2010   06/2010      90.00    06/30/2010
                      971ssop - Village East Apartments OP     103           spri225 - City of Springfield                06/10/2010   06/2010     441.00    06/30/2010
                      971ssop - Village East Apartments OP     104           t0062125 - White                             06/10/2010   06/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     105           t0062129 - Elliott                           06/10/2010   06/2010      20.00    06/30/2010
                      971ssop - Village East Apartments OP     106           t0062145 - Alexander                         06/10/2010   06/2010      20.00    07/31/2010
                      971ssop - Village East Apartments OP     107           t0062149 - Wright                            06/10/2010   06/2010      41.00    06/30/2010
                      971ssop - Village East Apartments OP     108           t0062153 - Running                           06/10/2010   06/2010      20.00    06/30/2010
                      971ssop - Village East Apartments OP     109           t0062155 - Roth                              06/10/2010   06/2010      19.00    06/30/2010
                      971ssop - Village East Apartments OP     110           t0062158 - Martinez                          06/10/2010   06/2010      20.00    06/30/2010
                      971ssop - Village East Apartments OP     111           guar300 - Guardian Management LLC            06/11/2010   06/2010     600.00    06/30/2010
                      971ssop - Village East Apartments OP     112           guar438 - Guardian Management LLC            06/25/2010   06/2010   1,909.36    06/30/2010
                      971ssop - Village East Apartments OP     113           guar438 - Guardian Management LLC            06/28/2010   06/2010   1,764.00    06/30/2010
                      971ssop - Village East Apartments OP     114           scre500 - Screeners, Inc.                    06/29/2010   06/2010      40.00    07/31/2010
                      971ssop - Village East Apartments OP     115           jdfu500 - JD Fulwiler & Co. Inc.             06/29/2010   06/2010     404.00    07/31/2010
                      971ssop - Village East Apartments OP     116           guar300 - Guardian Management LLC            07/01/2010   07/2010      85.00    07/31/2010
                      971ssop - Village East Apartments OP     117           scre500 - Screeners, Inc.                    07/02/2010   07/2010      77.00    07/31/2010




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                      971ssop - Village East Apartments OP     118           att646 - AT & T Mobility                     07/07/2010   07/2010      56.65    07/31/2010
                      971ssop - Village East Apartments OP     119           beds100 - Teresa Bedsaul                     07/07/2010   07/2010     203.00    07/31/2010
                      971ssop - Village East Apartments OP     120           biom195 - Bio-Med Testing Services, Inc.     07/07/2010   07/2010      41.00    07/31/2010
                      971ssop - Village East Apartments OP     121           cdwd500 - CDW Direct, LLC                    07/07/2010   07/2010   1,648.59    07/31/2010
                      971ssop - Village East Apartments OP     122           comc347 - Comcast                            07/07/2010   07/2010      30.86    07/31/2010
                      971ssop - Village East Apartments OP     123           comc347 - Comcast                            07/07/2010   07/2010     133.34    07/31/2010




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                      971ssop - Village East Apartments OP     124           guar438 - Guardian Management LLC            07/07/2010   07/2010     509.38    07/31/2010
                      971ssop - Village East Apartments OP     125           jdfu500 - JD Fulwiler & Co. Inc.             07/07/2010   07/2010     744.00    07/31/2010
                      971ssop - Village East Apartments OP     126           rain522 - Rainbow Village                    07/07/2010   07/2010     300.00    07/31/2010
                      971ssop - Village East Apartments OP     127           spri300 - Springfield Utility Board          07/07/2010   07/2010   1,733.82    07/31/2010
                      971ssop - Village East Apartments OP     128           t0062125 - White                             07/07/2010   07/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     129           t0062129 - Elliott                           07/07/2010   07/2010      20.00
                      971ssop - Village East Apartments OP     129           t0062129 - Elliott                           12/03/2010   12/2010     -20.00
                      971ssop - Village East Apartments OP     130           t0062145 - Alexander                         07/07/2010   07/2010      20.00    07/31/2010
                      971ssop - Village East Apartments OP     131           t0062149 - Wright                            07/07/2010   07/2010      41.00    07/31/2010




Filed 06/06/11
                      971ssop - Village East Apartments OP     132           t0062153 - Running                           07/07/2010   07/2010      20.00    08/31/2010
                      971ssop - Village East Apartments OP     133           t0062155 - Roth                              07/07/2010   07/2010      19.00    07/31/2010
                      971ssop - Village East Apartments OP     134           t0062158 - Martinez                          07/07/2010   07/2010      20.00    07/31/2010
                      971ssop - Village East Apartments OP     135           tena500 - Tenant Technologies, Inc           07/07/2010   07/2010     138.00    07/31/2010
                      971ssop - Village East Apartments OP     136           umpq500 - Umpqua Bank                        07/07/2010   07/2010   9,985.19    07/31/2010
                      971ssop - Village East Apartments OP     137           wast716 - Waste Management Control Co        07/07/2010   07/2010     899.72    07/31/2010
                      971ssop - Village East Apartments OP     138           guar438 - Guardian Management LLC            07/12/2010   07/2010   1,984.84    07/31/2010
                      971ssop - Village East Apartments OP     139           bbpr904 - B & B Print Source                 07/15/2010   07/2010      48.75    07/31/2010
                      971ssop - Village East Apartments OP     140           coin500 - Coin Meter Company, Inc.           07/15/2010   07/2010     448.74    07/31/2010
                      971ssop - Village East Apartments OP     141           comm500 - Commercial Drapery & Blinds Inc    07/15/2010   07/2010     165.00    07/31/2010
                      971ssop - Village East Apartments OP     142           zfarw143 - zFar West Carpet Etc, Inc         07/15/2010   07/2010     381.64
                      971ssop - Village East Apartments OP     142           zfarw143 - zFar West Carpet Etc, Inc         01/19/2011   01/2011    -381.64
                      971ssop - Village East Apartments OP     143           grac363 - Grace Hill, Inc                    07/15/2010   07/2010      25.69    07/31/2010
                      971ssop - Village East Apartments OP     144           imag473 - Image Builders Construction, Inc   07/15/2010   07/2010   2,460.00    07/31/2010

                                                                                                                                                    Wednesday, June 01, 2011
                                                                                                                                                                   12:12 PM
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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post          Total   Date
                      Bank                                   Check#          Vendor                                       Date         Month      Amount     Reconciled
                      971ssop - Village East Apartments OP     145           lane211 - Lane Forest Products               07/15/2010   07/2010     794.00    07/31/2010
                      971ssop - Village East Apartments OP     146           wast716 - Waste Management Control Co        07/15/2010   07/2010   1,789.44    07/31/2010
                      971ssop - Village East Apartments OP     147           bbpr904 - B & B Print Source                 07/22/2010   07/2010      44.00    07/31/2010
                      971ssop - Village East Apartments OP     148           zfarw143 - zFar West Carpet Etc, Inc         07/22/2010   07/2010     401.76
                      971ssop - Village East Apartments OP     148           zfarw143 - zFar West Carpet Etc, Inc         01/19/2011   01/2011    -401.76
                      971ssop - Village East Apartments OP     149           guar438 - Guardian Management LLC            07/22/2010   07/2010     288.80    07/31/2010
                      971ssop - Village East Apartments OP     150           imag473 - Image Builders Construction, Inc   07/22/2010   07/2010   1,975.00    08/31/2010
                      971ssop - Village East Apartments OP     151           jerr160 - Jerry's Home Improvement Center    07/22/2010   07/2010     299.91    07/31/2010
                      971ssop - Village East Apartments OP     152           guar438 - Guardian Management LLC            07/26/2010   07/2010   1,764.00    07/31/2010
                      971ssop - Village East Apartments OP     153           guar438 - Guardian Management LLC            07/27/2010   07/2010   2,433.65    07/31/2010
                      971ssop - Village East Apartments OP     154           att646 - AT & T Mobility                     07/28/2010   07/2010       1.55    08/31/2010
                      971ssop - Village East Apartments OP     155           oelh100 - Barbara Oelhafen                   07/28/2010   07/2010     181.07    08/31/2010
                      971ssop - Village East Apartments OP     156           tena500 - Tenant Technologies, Inc           07/28/2010   07/2010      63.00    08/31/2010
                      971ssop - Village East Apartments OP     157           umpq115 - Umpqua Bank                        08/09/2010   08/2010   8,160.63    08/31/2010
                      971ssop - Village East Apartments OP     158           guar438 - Guardian Management LLC            08/19/2010   08/2010   3,365.21    08/31/2010
                      971ssop - Village East Apartments OP     159           biom195 - Bio-Med Testing Services, Inc.     08/19/2010   08/2010      41.00    08/31/2010
                      971ssop - Village East Apartments OP     160           blaz500 - Blazing Stitches LLC               08/19/2010   08/2010     181.10    09/30/2010




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                      971ssop - Village East Apartments OP     161           comc347 - Comcast                            08/19/2010   08/2010     130.25    08/31/2010
                      971ssop - Village East Apartments OP     162           comm500 - Commercial Drapery & Blinds Inc    08/19/2010   08/2010     116.25    08/31/2010
                      971ssop - Village East Apartments OP     163           hdsu500 - HD Supply Facilities Maintenance   08/19/2010   08/2010   1,493.19    08/31/2010
                      971ssop - Village East Apartments OP     164           jdfu500 - JD Fulwiler & Co. Inc.             08/19/2010   08/2010     744.00    08/31/2010
                      971ssop - Village East Apartments OP     165           jerr160 - Jerry's Home Improvement Center    08/19/2010   08/2010     348.00    08/31/2010
                      971ssop - Village East Apartments OP     166           jtha158 - J. Thayer Co.                      08/19/2010   08/2010   1,287.91    08/31/2010




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                      971ssop - Village East Apartments OP     167           oelh100 - Barbara Oelhafen                   08/19/2010   08/2010     156.45    08/31/2010
                      971ssop - Village East Apartments OP     168           sher339 - The Sherwin-Williams Co            08/19/2010   08/2010   4,275.22    08/31/2010
                      971ssop - Village East Apartments OP     169           spri300 - Springfield Utility Board          08/19/2010   08/2010   3,181.58    08/31/2010
                      971ssop - Village East Apartments OP     170           star930 - Star Landscape                     08/19/2010   08/2010     198.19    08/31/2010
                      971ssop - Village East Apartments OP     171           t0062125 - White                             08/19/2010   08/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     172           t0062129 - Elliott                           08/19/2010   08/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     173           t0062145 - Alexander                         08/19/2010   08/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     174           t0062149 - Wright                            08/19/2010   08/2010      41.00    08/31/2010
                      971ssop - Village East Apartments OP     175           t0062153 - Running                           08/19/2010   08/2010      20.00    08/31/2010




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                      971ssop - Village East Apartments OP     176           t0062155 - Roth                              08/19/2010   08/2010      19.00    08/31/2010
                      971ssop - Village East Apartments OP     177           t0062158 - Martinez                          08/19/2010   08/2010      20.00    08/31/2010
                      971ssop - Village East Apartments OP     178           guar438 - Guardian Management LLC            08/25/2010   08/2010   1,764.00    08/31/2010
                      971ssop - Village East Apartments OP     179           guar438 - Guardian Management LLC            08/26/2010   08/2010   2,692.26    08/31/2010
                      971ssop - Village East Apartments OP     180           hdsu500 - HD Supply Facilities Maintenance   08/26/2010   08/2010      90.37    08/31/2010
                      971ssop - Village East Apartments OP     181           nati900 - National Multi Housing Council     08/26/2010   08/2010      17.90    08/31/2010
                      971ssop - Village East Apartments OP     182           prog298 - ProGrass, Inc                      08/26/2010   08/2010   3,450.00    09/30/2010
                      971ssop - Village East Apartments OP     183           wast716 - Waste Management Control Co        08/26/2010   08/2010     999.72    08/31/2010
                      971ssop - Village East Apartments OP     184           scre500 - Screeners, Inc.                    08/31/2010   08/2010      80.00    09/30/2010
                      971ssop - Village East Apartments OP     185           umpq115 - Umpqua Bank                        09/09/2010   09/2010   8,160.63    09/30/2010
                      971ssop - Village East Apartments OP     186           guar438 - Guardian Management LLC            09/09/2010   09/2010     252.00    09/30/2010
                      971ssop - Village East Apartments OP     187           jdfu500 - JD Fulwiler & Co. Inc.             09/09/2010   09/2010     744.00    09/30/2010
                      971ssop - Village East Apartments OP     188           guar438 - Guardian Management LLC            09/13/2010   09/2010   2,643.38    09/30/2010
                      971ssop - Village East Apartments OP     189           t0062125 - White                             09/14/2010   09/2010      20.00    10/31/2010

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post          Total   Date
                      Bank                                   Check#          Vendor                                       Date         Month      Amount     Reconciled
                      971ssop - Village East Apartments OP     190           t0062145 - Alexander                         09/14/2010   09/2010      20.00    10/31/2010
                      971ssop - Village East Apartments OP     191           t0062149 - Wright                            09/14/2010   09/2010      41.00    09/30/2010
                      971ssop - Village East Apartments OP     192           t0062153 - Running                           09/14/2010   09/2010      20.00    09/30/2010
                      971ssop - Village East Apartments OP     193           t0062155 - Roth                              09/14/2010   09/2010      19.00    09/30/2010
                      971ssop - Village East Apartments OP     194           att646 - AT & T Mobility                     09/15/2010   09/2010      40.71    09/30/2010
                      971ssop - Village East Apartments OP     195           avid500 - AvidXchange, Inc                   09/15/2010   09/2010     342.00    09/30/2010
                      971ssop - Village East Apartments OP     196           coin500 - Coin Meter Company, Inc.           09/15/2010   09/2010     207.50    09/30/2010
                      971ssop - Village East Apartments OP     197           comc347 - Comcast                            09/15/2010   09/2010     129.79    09/30/2010
                      971ssop - Village East Apartments OP     198           zfirs579 - zFirst Service PGP Valuation      09/15/2010   09/2010   3,000.00    09/30/2010
                      971ssop - Village East Apartments OP     199           grac363 - Grace Hill, Inc                    09/15/2010   09/2010      25.69    09/30/2010
                      971ssop - Village East Apartments OP     200           guar800 - GM Maintenance LLC                 09/15/2010   09/2010      80.00    09/30/2010
                      971ssop - Village East Apartments OP     201           hdsu500 - HD Supply Facilities Maintenance   09/15/2010   09/2010     707.61    09/30/2010
                      971ssop - Village East Apartments OP     202           jtha158 - J. Thayer Co.                      09/15/2010   09/2010     177.85    09/30/2010
                      971ssop - Village East Apartments OP     203           oreg544 - Oregon AHMA                        09/15/2010   09/2010      80.00    09/30/2010
                      971ssop - Village East Apartments OP     204           prog298 - ProGrass, Inc                      09/15/2010   09/2010   1,056.00    09/30/2010
                      971ssop - Village East Apartments OP     205           spri300 - Springfield Utility Board          09/15/2010   09/2010   2,136.27    09/30/2010
                      971ssop - Village East Apartments OP     206           wast716 - Waste Management Control Co        09/15/2010   09/2010     926.32    09/30/2010




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                      971ssop - Village East Apartments OP     207           scre500 - Screeners, Inc.                    09/16/2010   09/2010      80.00    09/30/2010
                      971ssop - Village East Apartments OP     208           guar438 - Guardian Management LLC            09/22/2010   09/2010       7.78    09/30/2010
                      971ssop - Village East Apartments OP     209           hdsu500 - HD Supply Facilities Maintenance   09/22/2010   09/2010     864.25    09/30/2010
                      971ssop - Village East Apartments OP     210           jtha158 - J. Thayer Co.                      09/22/2010   09/2010     151.78    09/30/2010
                      971ssop - Village East Apartments OP     211           guar438 - Guardian Management LLC            09/27/2010   09/2010   2,423.09    09/30/2010
                      971ssop - Village East Apartments OP     212           micr500 - Microsoft Licensing, GP            09/29/2010   09/2010     225.00    10/31/2010




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                      971ssop - Village East Apartments OP     213           scre500 - Screeners, Inc.                    09/29/2010   09/2010     156.00    10/31/2010
                      971ssop - Village East Apartments OP     214           guar438 - Guardian Management LLC            09/30/2010   09/2010   1,764.00    09/30/2010
                      971ssop - Village East Apartments OP     215           guar300 - Guardian Management LLC            10/01/2010   10/2010     595.00    10/31/2010
                      971ssop - Village East Apartments OP     216           t0062125 - White                             10/05/2010   10/2010      20.00    10/31/2010
                      971ssop - Village East Apartments OP     217           t0062145 - Alexander                         10/05/2010   10/2010      20.00    11/30/2010
                      971ssop - Village East Apartments OP     218           t0062149 - Wright                            10/05/2010   10/2010      41.00    10/31/2010
                      971ssop - Village East Apartments OP     219           t0062155 - Roth                              10/05/2010   10/2010      19.00    10/31/2010
                      971ssop - Village East Apartments OP     220           guar438 - Guardian Management LLC            10/05/2010   10/2010     252.00    10/31/2010
                      971ssop - Village East Apartments OP     221           jdfu500 - JD Fulwiler & Co. Inc.             10/05/2010   10/2010     744.00    10/31/2010




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                      971ssop - Village East Apartments OP     222           umpq115 - Umpqua Bank                        10/05/2010   10/2010   8,160.63    10/31/2010
                      971ssop - Village East Apartments OP     223           att646 - AT & T Mobility                     10/07/2010   10/2010      41.31    10/31/2010
                      971ssop - Village East Apartments OP     224           comc347 - Comcast                            10/07/2010   10/2010     129.79    10/31/2010
                      971ssop - Village East Apartments OP     225           guar438 - Guardian Management LLC            10/07/2010   10/2010     246.54    10/31/2010
                      971ssop - Village East Apartments OP     226           spri300 - Springfield Utility Board          10/07/2010   10/2010   2,208.75    10/31/2010
                      971ssop - Village East Apartments OP     227           guar438 - Guardian Management LLC            10/12/2010   10/2010   2,655.42    10/31/2010
                      971ssop - Village East Apartments OP     228           scre500 - Screeners, Inc.                    10/14/2010   10/2010      80.00    10/31/2010
                      971ssop - Village East Apartments OP     229           blaz500 - Blazing Stitches LLC               10/14/2010   10/2010     140.44    10/31/2010
                      971ssop - Village East Apartments OP     230           hdsu500 - HD Supply Facilities Maintenance   10/14/2010   10/2010     304.80    10/31/2010
                      971ssop - Village East Apartments OP     231           prog298 - ProGrass, Inc                      10/14/2010   10/2010   3,900.00    10/31/2010
                      971ssop - Village East Apartments OP     232           spri300 - Springfield Utility Board          10/14/2010   10/2010      20.03    10/31/2010
                      971ssop - Village East Apartments OP     233           wast716 - Waste Management Control Co        10/14/2010   10/2010     889.72    10/31/2010
                      971ssop - Village East Apartments OP     234           elit420 - Elite Carpet Care                  10/20/2010   10/2010     165.00    10/31/2010
                      971ssop - Village East Apartments OP     235           guar438 - Guardian Management LLC            10/20/2010   10/2010     191.57    10/31/2010

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                                  Check        Post          Total   Date
                      Bank                                   Check#          Vendor                                               Date         Month      Amount     Reconciled
                      971ssop - Village East Apartments OP     236           guar438 - Guardian Management LLC                    10/25/2010   10/2010   1,764.00    10/31/2010
                      971ssop - Village East Apartments OP     237           guar438 - Guardian Management LLC                    10/26/2010   10/2010   3,204.99    10/31/2010
                      971ssop - Village East Apartments OP     238           att646 - AT & T Mobility                             10/27/2010   10/2010      41.23    11/30/2010
                      971ssop - Village East Apartments OP     239           rams100 - Lee Ramsey                                 10/27/2010   10/2010     174.47    11/30/2010
                      971ssop - Village East Apartments OP     240           tena500 - Tenant Technologies, Inc                   10/27/2010   10/2010      63.00    11/30/2010
                      971ssop - Village East Apartments OP     241           guar438 - Guardian Management LLC                    11/02/2010   11/2010     252.00    11/30/2010
                      971ssop - Village East Apartments OP     242           jdfu500 - JD Fulwiler & Co. Inc.                     11/02/2010   11/2010     744.00    11/30/2010
                      971ssop - Village East Apartments OP     243           umpq115 - Umpqua Bank                                11/02/2010   11/2010   8,160.63    11/30/2010
                      971ssop - Village East Apartments OP     244           lane500 - Lane County Tax Collector                  11/10/2010   11/2010   7,756.53    11/30/2010
                      971ssop - Village East Apartments OP     245           lane500 - Lane County Tax Collector                  11/10/2010   11/2010   2,252.54    11/30/2010
                      971ssop - Village East Apartments OP     246           guar438 - Guardian Management LLC                    11/10/2010   11/2010   2,715.11    11/30/2010
                      971ssop - Village East Apartments OP     247           comc347 - Comcast                                    11/10/2010   11/2010     129.69    11/30/2010
                      971ssop - Village East Apartments OP     248           grac363 - Grace Hill, Inc                            11/10/2010   11/2010      26.00    11/30/2010
                      971ssop - Village East Apartments OP     249           guar438 - Guardian Management LLC                    11/10/2010   11/2010      23.20    11/30/2010
                      971ssop - Village East Apartments OP     250           guar800 - GM Maintenance LLC                         11/10/2010   11/2010     150.00    11/30/2010
                      971ssop - Village East Apartments OP     251           hdsu500 - HD Supply Facilities Maintenance           11/10/2010   11/2010   1,605.52    11/30/2010
                      971ssop - Village East Apartments OP     252           jtha158 - J. Thayer Co.                              11/10/2010   11/2010     166.63    11/30/2010




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                      971ssop - Village East Apartments OP     253           omli500 - Omlid & Swinney Fire Protection/Security   11/10/2010   11/2010     402.35    11/30/2010
                      971ssop - Village East Apartments OP     254           rams100 - Lee Ramsey                                 11/10/2010   11/2010     363.00    11/30/2010
                      971ssop - Village East Apartments OP     255           spri300 - Springfield Utility Board                  11/10/2010   11/2010   1,058.81    11/30/2010
                      971ssop - Village East Apartments OP     256           scre500 - Screeners, Inc.                            11/16/2010   11/2010      80.00    11/30/2010
                      971ssop - Village East Apartments OP     257           hdsu500 - HD Supply Facilities Maintenance           11/17/2010   11/2010      80.01    11/30/2010
                      971ssop - Village East Apartments OP     258           read905 - Ready Rooter & Chapman Plumbing, Inc       11/17/2010   11/2010      82.00    11/30/2010




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                      971ssop - Village East Apartments OP     259           spri300 - Springfield Utility Board                  11/17/2010   11/2010      10.61    11/30/2010
                      971ssop - Village East Apartments OP     260           wast716 - Waste Management Control Co                11/17/2010   11/2010     889.72    11/30/2010
                      971ssop - Village East Apartments OP     261           guar438 - Guardian Management LLC                    11/23/2010   11/2010   4,497.42    11/30/2010
                      971ssop - Village East Apartments OP     262           t0062129 - Elliott                                   12/03/2010   12/2010      20.00    12/31/2010
                      971ssop - Village East Apartments OP     263           guar438 - Guardian Management LLC                    12/07/2010   12/2010     246.30    12/31/2010
                      971ssop - Village East Apartments OP     264           guar438 - Guardian Management LLC                    12/07/2010   12/2010     252.00    12/31/2010
                      971ssop - Village East Apartments OP     265           jdfu500 - JD Fulwiler & Co. Inc.                     12/07/2010   12/2010     744.00    12/31/2010
                      971ssop - Village East Apartments OP     266           umpq115 - Umpqua Bank                                12/07/2010   12/2010   8,160.63    12/31/2010
                      971ssop - Village East Apartments OP     267           t0062125 - White                                     12/07/2010   12/2010      40.00    01/31/2011




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                      971ssop - Village East Apartments OP     268           t0062145 - Alexander                                 12/07/2010   12/2010      20.00    02/28/2011
                      971ssop - Village East Apartments OP     269           t0062153 - Running                                   12/07/2010   12/2010       9.00
                      971ssop - Village East Apartments OP     269           t0062153 - Running                                   05/17/2011   05/2011      -9.00
                      971ssop - Village East Apartments OP     270           att646 - AT & T Mobility                             12/08/2010   12/2010      41.23    12/31/2010
                      971ssop - Village East Apartments OP     271           comc347 - Comcast                                    12/08/2010   12/2010     129.69    12/31/2010
                      971ssop - Village East Apartments OP     272           hdsu500 - HD Supply Facilities Maintenance           12/08/2010   12/2010   1,963.56    12/31/2010
                      971ssop - Village East Apartments OP     273           prog298 - ProGrass, Inc                              12/08/2010   12/2010     588.45    12/31/2010
                      971ssop - Village East Apartments OP     274           rams100 - Lee Ramsey                                 12/08/2010   12/2010      25.00    12/31/2010
                      971ssop - Village East Apartments OP     275           spri300 - Springfield Utility Board                  12/08/2010   12/2010   1,711.06    12/31/2010
                      971ssop - Village East Apartments OP     276           guar438 - Guardian Management LLC                    12/10/2010   12/2010   2,617.26    12/31/2010
                      971ssop - Village East Apartments OP     277           guar300 - Guardian Management LLC                    12/14/2010   12/2010     300.00    12/31/2010
                      971ssop - Village East Apartments OP     278           hdsu500 - HD Supply Facilities Maintenance           12/15/2010   12/2010     486.85    12/31/2010
                      971ssop - Village East Apartments OP     279           prog298 - ProGrass, Inc                              12/15/2010   12/2010     850.00    12/31/2010
                      971ssop - Village East Apartments OP     280           spri300 - Springfield Utility Board                  12/15/2010   12/2010      33.35    12/31/2010

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post           Total   Date
                      Bank                                   Check#          Vendor                                       Date         Month       Amount     Reconciled
                      971ssop - Village East Apartments OP     281           ster100 - Carol Sterba                       12/15/2010   12/2010      209.00    12/31/2010
                      971ssop - Village East Apartments OP     282           wast716 - Waste Management Control Co        12/15/2010   12/2010      889.72    12/31/2010
                      971ssop - Village East Apartments OP     283           scre500 - Screeners, Inc.                    12/16/2010   12/2010      185.00    12/31/2010
                      971ssop - Village East Apartments OP     284           guar800 - GM Maintenance LLC                 12/22/2010   12/2010    1,463.12    12/31/2010
                      971ssop - Village East Apartments OP     285           spri300 - Springfield Utility Board          12/22/2010   12/2010        9.05    12/31/2010
                      971ssop - Village East Apartments OP     286           zeff500 - Zeffert & Associates               12/22/2010   12/2010      107.00    12/31/2010
                      971ssop - Village East Apartments OP     287           guar438 - Guardian Management LLC            12/23/2010   12/2010    2,427.53    12/31/2010
                      971ssop - Village East Apartments OP     288           att646 - AT & T Mobility                     12/29/2010   12/2010       41.84    01/31/2011
                      971ssop - Village East Apartments OP     289           elit420 - Elite Carpet Care                  12/29/2010   12/2010       70.00    01/31/2011
                      971ssop - Village East Apartments OP     290           rams100 - Lee Ramsey                         12/29/2010   12/2010      119.00    01/31/2011
                      971ssop - Village East Apartments OP     291           guar438 - Guardian Management LLC            12/30/2010   12/2010    1,702.48    01/31/2011
                      971ssop - Village East Apartments OP     292           guar300 - Guardian Management LLC            01/04/2011   01/2011      397.00    01/31/2011
                      971ssop - Village East Apartments OP     293           comc347 - Comcast                            01/05/2011   01/2011      129.69    01/31/2011
                      971ssop - Village East Apartments OP     294           guar438 - Guardian Management LLC            01/05/2011   01/2011      252.00    01/31/2011
                      971ssop - Village East Apartments OP     295           jdfu500 - JD Fulwiler & Co. Inc.             01/05/2011   01/2011      744.00    01/31/2011
                      971ssop - Village East Apartments OP     296           oreg544 - Oregon AHMA                        01/05/2011   01/2011      126.00    01/31/2011
                      971ssop - Village East Apartments OP     297           spri300 - Springfield Utility Board          01/05/2011   01/2011    1,833.70    01/31/2011




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                      971ssop - Village East Apartments OP     298           umpq115 - Umpqua Bank                        01/05/2011   01/2011    8,160.63    01/31/2011
                      971ssop - Village East Apartments OP     299           whit100 - Deb Whitten                        01/05/2011   01/2011      242.00    01/31/2011
                      971ssop - Village East Apartments OP     300           spri300 - Springfield Utility Board          01/06/2011   01/2011       40.07    01/31/2011
                      971ssop - Village East Apartments OP     301           t0062125 - White                             01/06/2011   01/2011       20.00
                      971ssop - Village East Apartments OP     302           t0062147 - Grabow                            01/06/2011   01/2011       40.00    01/31/2011
                      971ssop - Village East Apartments OP     303           guar438 - Guardian Management LLC            01/12/2011   01/2011    2,850.59    01/31/2011




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                      971ssop - Village East Apartments OP     304           easb500 - Easbey Consulting, LLC             01/12/2011   01/2011       65.00    01/31/2011
                      971ssop - Village East Apartments OP     305           jtha158 - J. Thayer Co.                      01/12/2011   01/2011      133.10    01/31/2011
                      971ssop - Village East Apartments OP     306           sher0152 - The Sherwin-Williams Co           01/12/2011   01/2011      154.90    01/31/2011
                      971ssop - Village East Apartments OP     307           scre500 - Screeners, Inc.                    01/14/2011   01/2011      172.00    01/31/2011
                      971ssop - Village East Apartments OP     308           east382 - Eastside Electric, Inc             01/20/2011   01/2011      128.00    01/31/2011
                      971ssop - Village East Apartments OP     309           elit420 - Elite Carpet Care                  01/20/2011   01/2011      200.00    01/31/2011
                      971ssop - Village East Apartments OP     310           hdsu500 - HD Supply Facilities Maintenance   01/20/2011   01/2011      948.47    01/31/2011
                      971ssop - Village East Apartments OP     311           yard800 - Yardi Systems Inc.                 01/20/2011   01/2011      343.11    01/31/2011
                      971ssop - Village East Apartments OP     312           guar438 - Guardian Management LLC            01/25/2011   01/2011    1,158.17    01/31/2011




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                      971ssop - Village East Apartments OP     313           guar438 - Guardian Management LLC            01/26/2011   01/2011    2,494.04    01/31/2011
                      971ssop - Village East Apartments OP     314           guar800 - GM Maintenance LLC                 01/26/2011   01/2011       75.00    01/31/2011
                      971ssop - Village East Apartments OP     315           hdsu500 - HD Supply Facilities Maintenance   01/26/2011   01/2011      212.52    02/28/2011
                      971ssop - Village East Apartments OP     316           metr921 - Metro Multi-Family Housing         01/26/2011   01/2011       39.21    02/28/2011
                      971ssop - Village East Apartments OP     317           scre500 - Screeners, Inc.                    01/28/2011   01/2011       40.00    01/31/2011
                      971ssop - Village East Apartments OP     318           guar438 - Guardian Management LLC            02/02/2011   02/2011      406.74    02/28/2011
                      971ssop - Village East Apartments OP     319           jdfu500 - JD Fulwiler & Co. Inc.             02/02/2011   02/2011      744.00    02/28/2011
                      971ssop - Village East Apartments OP     320           lane500 - Lane County Tax Collector          02/02/2011   02/2011   10,009.07    02/28/2011
                      971ssop - Village East Apartments OP     321           umpq115 - Umpqua Bank                        02/02/2011   02/2011    8,160.63    02/28/2011
                      971ssop - Village East Apartments OP     322           adep132 - Adept Computers Services           02/08/2011   02/2011      415.00    02/28/2011
                      971ssop - Village East Apartments OP     323           comc347 - Comcast                            02/08/2011   02/2011      130.08    02/28/2011
                      971ssop - Village East Apartments OP     324           guar438 - Guardian Management LLC            02/08/2011   02/2011      129.39    02/28/2011
                      971ssop - Village East Apartments OP     325           hdsu500 - HD Supply Facilities Maintenance   02/08/2011   02/2011      642.62    02/28/2011
                      971ssop - Village East Apartments OP     326           imag473 - Image Builders Construction, Inc   02/08/2011   02/2011    3,255.00    02/28/2011

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                              Check        Post          Total   Date
                      Bank                                   Check#          Vendor                                           Date         Month      Amount     Reconciled
                      971ssop - Village East Apartments OP     327           knox280 - Knox Enterprises, Inc.                 02/08/2011   02/2011      31.31    02/28/2011
                      971ssop - Village East Apartments OP     328           mark750 - Marketstat, LLC                        02/08/2011   02/2011      75.00    02/28/2011
                      971ssop - Village East Apartments OP     329           prog298 - ProGrass, Inc                          02/08/2011   02/2011     850.00    02/28/2011
                      971ssop - Village East Apartments OP     330           rams100 - Lee Ramsey                             02/08/2011   02/2011     140.25    02/28/2011
                      971ssop - Village East Apartments OP     331           spri300 - Springfield Utility Board              02/08/2011   02/2011   2,019.23    02/28/2011
                      971ssop - Village East Apartments OP     332           guar438 - Guardian Management LLC                02/10/2011   02/2011   2,568.36    02/28/2011
                      971ssop - Village East Apartments OP     333           scre500 - Screeners, Inc.                        02/14/2011   02/2011      52.00    02/28/2011
                      971ssop - Village East Apartments OP     334           guar438 - Guardian Management LLC                02/23/2011   02/2011   3,272.45    02/28/2011
                      971ssop - Village East Apartments OP     335           biom195 - Bio-Med Testing Services, Inc.         02/23/2011   02/2011      41.00    03/31/2011
                      971ssop - Village East Apartments OP     336           scre500 - Screeners, Inc.                        03/01/2011   03/2011      65.00    03/31/2011
                      971ssop - Village East Apartments OP     337           guar438 - Guardian Management LLC                03/03/2011   03/2011     335.46    03/31/2011
                      971ssop - Village East Apartments OP     338           jdfu500 - JD Fulwiler & Co. Inc.                 03/03/2011   03/2011     744.00    03/31/2011
                      971ssop - Village East Apartments OP     339           umpq115 - Umpqua Bank                            03/03/2011   03/2011   8,160.63    03/31/2011
                      971ssop - Village East Apartments OP     340           t0062125 - White                                 03/04/2011   03/2011      19.00
                      971ssop - Village East Apartments OP     341           t0062129 - Elliott                               03/04/2011   03/2011      76.00    03/31/2011
                      971ssop - Village East Apartments OP     342           t0062147 - Grabow                                03/04/2011   03/2011      38.00    03/31/2011
                      971ssop - Village East Apartments OP     343           att646 - AT & T Mobility                         03/09/2011   03/2011      42.15    03/31/2011




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                      971ssop - Village East Apartments OP     344           comc347 - Comcast                                03/09/2011   03/2011     130.08    03/31/2011
                      971ssop - Village East Apartments OP     345           csfi500 - C & S Fire Safe Services               03/09/2011   03/2011     133.25    03/31/2011
                      971ssop - Village East Apartments OP     346           hdsu500 - HD Supply Facilities Maintenance       03/09/2011   03/2011     132.31    03/31/2011
                      971ssop - Village East Apartments OP     347           imag473 - Image Builders Construction, Inc       03/09/2011   03/2011     948.00    03/31/2011
                      971ssop - Village East Apartments OP     348           jtha158 - J. Thayer Co.                          03/09/2011   03/2011     193.25    03/31/2011
                      971ssop - Village East Apartments OP     349           oreg544 - Oregon AHMA                            03/09/2011   03/2011     210.00    03/31/2011




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                      971ssop - Village East Apartments OP     350           prog298 - ProGrass, Inc                          03/09/2011   03/2011     850.00    03/31/2011
                      971ssop - Village East Apartments OP     351           read905 - Ready Rooter & Chapman Plumbing, Inc   03/09/2011   03/2011     944.00    03/31/2011
                      971ssop - Village East Apartments OP     352           sher0152 - The Sherwin-Williams Co               03/09/2011   03/2011      39.88    03/31/2011
                      971ssop - Village East Apartments OP     353           sher339 - The Sherwin-Williams Co                03/09/2011   03/2011   1,235.27    03/31/2011
                      971ssop - Village East Apartments OP     354           spri300 - Springfield Utility Board              03/09/2011   03/2011   1,847.79    03/31/2011
                      971ssop - Village East Apartments OP     355           tena500 - Tenant Technologies, Inc               03/09/2011   03/2011      63.00    03/31/2011
                      971ssop - Village East Apartments OP     356           guar438 - Guardian Management LLC                03/10/2011   03/2011   1,673.75    03/31/2011
                      971ssop - Village East Apartments OP     357           oreg544 - Oregon AHMA                            03/15/2011   03/2011     700.00
                      971ssop - Village East Apartments OP     357           oreg544 - Oregon AHMA                            03/17/2011   03/2011    -700.00




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                      971ssop - Village East Apartments OP     358           prog298 - ProGrass, Inc                          03/16/2011   03/2011     850.00    03/31/2011
                      971ssop - Village East Apartments OP     359           oreg544 - Oregon AHMA                            03/17/2011   03/2011     375.00    04/30/2011
                      971ssop - Village East Apartments OP     360           grac363 - Grace Hill, Inc                        03/23/2011   03/2011      26.41    03/31/2011
                      971ssop - Village East Apartments OP     361           hdsu500 - HD Supply Facilities Maintenance       03/23/2011   03/2011     290.57    03/31/2011
                      971ssop - Village East Apartments OP     362           knox280 - Knox Enterprises, Inc.                 03/23/2011   03/2011      85.96    03/31/2011
                      971ssop - Village East Apartments OP     363           labo370 - Labor Ready Northwest, Inc             03/23/2011   03/2011     278.88    03/31/2011
                      971ssop - Village East Apartments OP     364           oelh100 - Barbara Oelhafen                       03/23/2011   03/2011      98.05    03/31/2011
                      971ssop - Village East Apartments OP     365           pglo500 - PG Long Floorcovering LLC              03/23/2011   03/2011      85.00    03/31/2011
                      971ssop - Village East Apartments OP     366           sher0152 - The Sherwin-Williams Co               03/23/2011   03/2011     124.35    03/31/2011
                      971ssop - Village East Apartments OP     367           guar438 - Guardian Management LLC                03/24/2011   03/2011   1,749.42    03/31/2011
                      971ssop - Village East Apartments OP     368           guar438 - Guardian Management LLC                03/28/2011   03/2011   1,619.62    03/31/2011
                      971ssop - Village East Apartments OP     369           scre500 - Screeners, Inc.                        03/30/2011   03/2011     193.00    04/30/2011
                      971ssop - Village East Apartments OP     370           wast716 - Waste Management Control Co            03/30/2011   03/2011   1,776.44    04/30/2011
                      971ssop - Village East Apartments OP     371           t0062147 - Grabow                                04/01/2011   04/2011      45.00    04/30/2011

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post           Total   Date
                      Bank                                   Check#          Vendor                                       Date         Month       Amount     Reconciled
                      971ssop - Village East Apartments OP     372           guar300 - Guardian Management LLC            04/01/2011   04/2011      197.00    04/30/2011
                      971ssop - Village East Apartments OP     373           guar438 - Guardian Management LLC            04/05/2011   04/2011      252.00    04/30/2011
                      971ssop - Village East Apartments OP     374           jdfu500 - JD Fulwiler & Co. Inc.             04/05/2011   04/2011      744.00    04/30/2011
                      971ssop - Village East Apartments OP     375           umpq115 - Umpqua Bank                        04/05/2011   04/2011    8,160.63    04/30/2011
                      971ssop - Village East Apartments OP     376           t0062129 - Elliott                           04/05/2011   04/2011       19.00    04/30/2011
                      971ssop - Village East Apartments OP     377           t0062147 - Grabow                            04/05/2011   04/2011       19.00    04/30/2011
                      971ssop - Village East Apartments OP     378           att646 - AT & T Mobility                     04/07/2011   04/2011       42.77    04/30/2011
                      971ssop - Village East Apartments OP     379           comc347 - Comcast                            04/07/2011   04/2011      130.08    04/30/2011
                      971ssop - Village East Apartments OP     380           spri300 - Springfield Utility Board          04/07/2011   04/2011    1,822.29    04/30/2011
                      971ssop - Village East Apartments OP     381           guar438 - Guardian Management LLC            04/12/2011   04/2011    1,463.60    04/30/2011
                      971ssop - Village East Apartments OP     382           att646 - AT & T Mobility                     04/13/2011   04/2011       41.54    04/30/2011
                      971ssop - Village East Apartments OP     383           avid500 - AvidXchange, Inc                   04/13/2011   04/2011      342.00    04/30/2011
                      971ssop - Village East Apartments OP     384           easb500 - Easbey Consulting, LLC             04/13/2011   04/2011       97.50    04/30/2011
                      971ssop - Village East Apartments OP     385           east382 - Eastside Electric, Inc             04/13/2011   04/2011      340.27    04/30/2011
                      971ssop - Village East Apartments OP     386           hdsu500 - HD Supply Facilities Maintenance   04/13/2011   04/2011    2,389.85    04/30/2011
                      971ssop - Village East Apartments OP     387           imag473 - Image Builders Construction, Inc   04/13/2011   04/2011    2,469.00    04/30/2011
                      971ssop - Village East Apartments OP     388           knox280 - Knox Enterprises, Inc.             04/13/2011   04/2011      164.44    04/30/2011




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                      971ssop - Village East Apartments OP     389           labo370 - Labor Ready Northwest, Inc         04/13/2011   04/2011    1,987.02    04/30/2011
                      971ssop - Village East Apartments OP     390           pglo500 - PG Long Floorcovering LLC          04/13/2011   04/2011       75.00    04/30/2011
                      971ssop - Village East Apartments OP     391           prog298 - ProGrass, Inc                      04/13/2011   04/2011      850.00    04/30/2011
                      971ssop - Village East Apartments OP     392           sher0152 - The Sherwin-Williams Co           04/13/2011   04/2011      442.76    04/30/2011
                      971ssop - Village East Apartments OP     393           sher339 - The Sherwin-Williams Co            04/13/2011   04/2011    1,332.04    04/30/2011
                      971ssop - Village East Apartments OP     394           spri300 - Springfield Utility Board          04/13/2011   04/2011       32.43    04/30/2011




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                      971ssop - Village East Apartments OP     395           scre500 - Screeners, Inc.                    04/14/2011   04/2011       92.00    04/30/2011
                      971ssop - Village East Apartments OP     396           elit420 - Elite Carpet Care                  04/21/2011   04/2011      350.00    04/30/2011
                      971ssop - Village East Apartments OP     397           labo370 - Labor Ready Northwest, Inc         04/21/2011   04/2011      453.18    04/30/2011
                      971ssop - Village East Apartments OP     398           wast716 - Waste Management Control Co        04/21/2011   04/2011      908.72    04/30/2011
                      971ssop - Village East Apartments OP     399           guar438 - Guardian Management LLC            04/22/2011   04/2011      205.96    04/30/2011
                      971ssop - Village East Apartments OP     400           guar438 - Guardian Management LLC            04/25/2011   04/2011    1,462.02    04/30/2011
                      971ssop - Village East Apartments OP     401           guar438 - Guardian Management LLC            04/26/2011   04/2011    1,463.10    04/30/2011
                      971ssop - Village East Apartments OP     402           att646 - AT & T Mobility                     04/27/2011   04/2011       41.48
                      971ssop - Village East Apartments OP     403           hdsu500 - HD Supply Facilities Maintenance   04/27/2011   04/2011    3,221.34




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                      971ssop - Village East Apartments OP     404           labo370 - Labor Ready Northwest, Inc         04/27/2011   04/2011      435.75
                      971ssop - Village East Apartments OP     405           sher339 - The Sherwin-Williams Co            04/27/2011   04/2011    2,741.37
                      971ssop - Village East Apartments OP     406           tena500 - Tenant Technologies, Inc           04/27/2011   04/2011       63.00
                      971ssop - Village East Apartments OP     407           t0062129 - Elliott                           05/04/2011   05/2011       19.00
                      971ssop - Village East Apartments OP     408           t0062147 - Grabow                            05/04/2011   05/2011       19.00
                      971ssop - Village East Apartments OP     409           guar438 - Guardian Management LLC            05/04/2011   05/2011      252.00
                      971ssop - Village East Apartments OP     410           jdfu500 - JD Fulwiler & Co. Inc.             05/04/2011   05/2011      744.00
                      971ssop - Village East Apartments OP     411           umpq115 - Umpqua Bank                        05/04/2011   05/2011    8,160.63
                      971ssop - Village East Apartments OP     412           lane500 - Lane County Tax Collector          05/05/2011   05/2011   10,009.07
                      971ssop - Village East Apartments OP     413           spri300 - Springfield Utility Board          05/05/2011   05/2011    1,898.63
                      971ssop - Village East Apartments OP     414           guar438 - Guardian Management LLC            05/10/2011   05/2011    1,283.53
                      971ssop - Village East Apartments OP     415           grac363 - Grace Hill, Inc                    05/11/2011   05/2011       23.41
                      971ssop - Village East Apartments OP     416           hdsu500 - HD Supply Facilities Maintenance   05/11/2011   05/2011      693.56
                      971ssop - Village East Apartments OP     417           jtha158 - J. Thayer Co.                      05/11/2011   05/2011      180.58

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                      Payment Summary
                      illage East Apartments
                      Bank=971ssop AND mm/yy=06/2010-05/2011 AND Check Date=06/01/2010-05/31/2011 AND All
                      Checks=Yes AND Include Voids=All Checks
                                                                                                                          Check        Post            Total Date
                      Bank                                   Check#          Vendor                                       Date         Month        Amount Reconciled
                      971ssop - Village East Apartments OP     418           labo370 - Labor Ready Northwest, Inc         05/11/2011   05/2011     1,063.23
                      971ssop - Village East Apartments OP     419           over262 - Overhead Doors Company of Eugene   05/11/2011   05/2011       850.00
                      971ssop - Village East Apartments OP     420           pglo500 - PG Long Floorcovering LLC          05/11/2011   05/2011       110.00
                      971ssop - Village East Apartments OP     421           spri300 - Springfield Utility Board          05/11/2011   05/2011        23.50
                      971ssop - Village East Apartments OP     422           t0062129 - Elliott                           05/11/2011   05/2011        19.00
                      971ssop - Village East Apartments OP     422           t0062129 - Elliott                           05/13/2011   05/2011       -19.00
                      971ssop - Village East Apartments OP     423           t0062147 - Grabow                            05/11/2011   05/2011        19.00
                      971ssop - Village East Apartments OP     423           t0062147 - Grabow                            05/13/2011   05/2011       -19.00
                      971ssop - Village East Apartments OP     424           bjor500 - Bjorklund & Montplaisir CPA's      05/17/2011   05/2011     2,000.00
                      971ssop - Village East Apartments OP     425           comc347 - Comcast                            05/18/2011   05/2011       129.17
                      971ssop - Village East Apartments OP     426           east382 - Eastside Electric, Inc             05/18/2011   05/2011       195.05
                      971ssop - Village East Apartments OP     427           hdsu500 - HD Supply Facilities Maintenance   05/18/2011   05/2011       767.17
                      971ssop - Village East Apartments OP     428           labo370 - Labor Ready Northwest, Inc         05/18/2011   05/2011       566.48
                      971ssop - Village East Apartments OP     429           mark750 - Marketstat, LLC                    05/18/2011   05/2011        75.00
                      971ssop - Village East Apartments OP     430           sher339 - The Sherwin-Williams Co            05/18/2011   05/2011     2,418.46
                      971ssop - Village East Apartments OP     431           spri300 - Springfield Utility Board          05/18/2011   05/2011        29.46
                      971ssop - Village East Apartments OP     432           wast716 - Waste Management Control Co        05/18/2011   05/2011       913.72




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                      971ssop - Village East Apartments OP     433           guar438 - Guardian Management LLC            05/25/2011   05/2011     2,731.75
                                                                                                                                                 331,988.20




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                                                                                                                                                     Wednesday, June 01, 2011
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Case 09-60875-fra11   Doc 586   Filed 06/06/11
                                                                                                                                UST-30 COVER SHEET
                                               MONTHLY OPERATING REPORT FOR
                                          INDIVIDUAL DEBTOR(S) ENGAGED IN BUSINESS

Case No.        09-60875-fra11

Debtor          Barbara K. Parmenter                                                                 Report Month/Year           April 2011



  Instructions: The debtor's monthly financial report shall include this cover sheet signed by the debtor and all
  UST forms and supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to
  comply with the reporting requirements of Local Bankruptcy Rule 2015-2, or the U.S. Trustee's reporting
  requirements, may be cause for conversion or dismissal of the case.
                                                                                                                                                   Not
The debtor submits the following with this monthly financial report:                                                         Completed          Applicable
UST-31     Business Comparative Income Statement or debtor's income statement (must include                                     X
                all line items specified on UST-31).

UST-32          Business Comparative Balance Sheet or debtor's balance sheet (must include all line                                    X
                items specified on UST-32). The debtor's balance sheet, if used, shall include a breakdown of pre-and
                post-petition liabilities. The breakdown may be provided as a separate attachment to the debtor's balance sheet.

UST-33          Business Comparative Cash Flow Statement or debtor's cash flow statement (must                                         X
                include all line items specified on UST-33). Complete this statement if the debtor is reporting based on
                the accrual basis of accounting. This is the required method, unless other arrangements have been made
                with the U.S. Trustee.

UST-34          Business Summary of Disbursements                                                                                      X
UST-34A         Business Statement(s) of Cash Receipts and Disbursements                                                               X
                Complete one or more to include all bank accounts or other sources of debtor funds. Include copies of
                monthly bank statements and all supporting documents described in the instructions.

UST-35          Business Statement of Aged Receivables                                                                                 X
                Provide a detailed accounting of aged receivables on, or as an attachment to, UST-35.
UST-36          Business Statement of Aged Post-Petition Payables                                                                      X
                Provide a detailed accounting of aged post-petition payables on, or as an attachment to, UST-36.

UST-37          Business/Personal Statement of Operations                                                                              X
                When applicable, UST-37 shall include copies of supporting documents such as an escrow statement for the
                sale of real property, an auctioneer's report for property sold at auction, or a certificate of insurance or copy of
                debtor's bond for any change in insurance or bond coverage.

UST-38          Personal Comparative Balance Sheet                                                                                     X
                Debtor should report using fair market values for assets and liabilities.
UST-39          Personal Summary of Cash Receipts                                                                                      X

UST-40          Personal Summary of Disbursements                                                                                      X

UST-40A         Personal Financial Account Detail                                                                                      X
                Complete one or more to include all bank accounts or other sources of debtor funds. Include copies of
                monthly bank statements and all supporting documents described in the instructions.

UST-41          Filing and Certifications                                                                                              X

                                         Debtor's Certification on Next Page must be signed




   Monthly Operating Report -Individual(s) Engaged in Business                                                                             Page 1 of 19
   United States Trustee-Oregon                                See Accountants' Report                                                     (Revised 12/15/03)




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Case 09-60875-fra11   Doc 586   Filed 06/06/11
                                                                                                     Case Number: 09-60875-fra11
                                                                                                     Report Mo/Yr: April 2011
Debtor: Barbara K. Parmenter

                                  UST-31, BUSINESS COMPARATIVE INCOME STATEMENT
INSTRUCTIONS: The initial report should include only business activity commencing from the petition date through the end of the month. If the
case is filed after the 20th day of the month, the report for the initial partial month may be combined with the report for next calendar month.

                                                                   MO/YR              MO/YR               MO/YR              Cumulative
                                      For the Month of:           04/30/11                                                    To Date
Revenue (See Exhibit 1)                                               33,355                                                      991,458
Less: Returns and Allowances                                          (2,124)                                                      (22,172)
NET REVENUE                                                           31,231                                                      969,286
Cost of Goods sold:
         Beginning Inventory                                                                                                                  -
         Add: Purchases                                                                                                                       -
         Less: Ending Inventory                                                                                                               -
Cost of Goods Sold                                                                                                                            -

Additional Costs of Good Sold:
         Direct Labor                                                                                                                         -
         Freight In                                                                                                                           -
TOTAL COST OF GOOD SOLD                                                                                                                       -
Other Operating Expenses:
        Officers' Salaries (Gross)                                                                                                        -
        Other Salaries (Gross)                                                                                                         96,982
        Depreciation and Amortization (TBD)                                                                                               -
        Employee Benefits                                                                                                                 -
        Payroll Taxes (Employer's portion)                                                                                              2,758
        Insurance                                                          744                                                         44,776
        Rent                                                                                                                              -
        General and Administrative (Exhibit 1)                         26,091                                                         526,556
TOTAL OPERATING EXPENSES                                               26,835                                                         671,072
NET OPERATING INCOME (LOSS)                                              4,396                                                        298,214

Add:        Other Income (See Exhibit 1)                                        83                                                      23,826

Less:       Interest Expense                                                -                                                          (88,868)

Less:  Non-Recurring Items
           Professional Fees                                                -                                                          (18,669)
           UST Fees                                                         -                                                           (5,200)
           Other (US Dept of Justice)                                       -                                                           (1,625)
TOTAL REORGANIZATION EXPENSES                                               -                                                          (25,494)
GAIN (LOSS) ON DISPOSAL OF ASSETS                                                                                                             -
NET INCOME (LOSS) BEFORE INCOME TAX                                      4,479                                                        207,678

Income Taxes                                                                                                                                  -

NET INCOME (LOSS)                                                        4,479                                                        207,678




   Monthly Operating Report -Individual(s) Engaged in Business                                                                    Page 3 of 19
   United States Trustee-Oregon                           See Accountants' Report                                                 (Revised 12/15/03)




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                                                                                       09-60875-fra11
Debtor:   Barbara K. Parmenter                                                         April 2011
                                                   Exhibit 1
Revenue                                                                 4/30/2011           Cumulative To Date
1920, 1922, 1956, 1958 Smith Oak                                           3,155.00                   34,634.50
38 Lakeview                                                                     -                      1,200.00
888 S 57th House                                                                -                      8,970.61
HUD Subsidy (Per Guardian Management)                                     19,868.00                 221,592.00
Miscellaneous Rent (Per Guardian Management)                              10,439.75                   92,632.75
Miscellaneous Income (Per Guardian Management)                              (108.00)                   4,587.75
Village East Apartments - Tenant Assistance Payments                            -                     72,172.00
Miscellaneous Rent                                                              -                     11,819.50
Village East Apartments - Tenant Charges                                        -                      1,504.00
Other - To be determined                                                        -                        720.00
Rental income                                                                   -                     22,442.51
Uncategorized prior to April 1, 2010                                            -                   519,181.20
          Revenue                                                         33,354.75                 991,457.62

General and Administrative                                              4/30/2011           Cumulative To Date
Advertising                                                                     -                        717.55
Auto & Truck                                                                    -                        300.99
Bad debts                                                                       -                      2,663.00
Bank charges                                                                    -                      2,190.17
Bond premium                                                                    -                      1,000.00
Bookkeeping                                                                  252.00                    2,772.00
Building materials & supplies                                                   -                         85.00
Cleaning                                                                        -                        410.70
Contract labor                                                                  -                        754.50
Contract renewal                                                                -                      3,000.00
Contractors                                                                     -                     33,868.79
Dues and subscriptions                                                          -                         93.90
Equipment rental                                                                -                        164.50
Garbage & trash removal                                                      905.00                   13,882.19
Health insurance                                                                -                        497.72
Hiring expenses                                                                 -                          4.00
HUD accounting                                                                  -                        400.00
Landscaping and supplies                                                     850.00                   18,818.58
Laundry equipment rental                                                        -                        448.74
License                                                                         -                        711.40
Maintenance payroll                                                          469.68                   19,775.82
Management fees                                                            1,462.02                   21,317.74
Management payroll                                                         2,728.72                   30,984.35
Meals and entertainment                                                         -                        163.19
Mileage/gas reimbursement                                                       -                         91.73
Miscellaneous                                                                385.49                    5,930.48
Miscellaneous labor                                                             -                        909.16
Office expenses                                                            1,030.95                   14,306.25
Parking                                                                         -                          3.00
Repairs and maintenance                                                    4,469.46                   26,932.39
Replacements                                                               7,627.30                   19,556.92
Site training & evaluation                                                    80.30                    3,407.57
Storage                                                                         -                      1,872.00
Supplies                                                                        -                      1,289.74
Taxes-property                                                             2,502.27                   24,500.17
Telephone                                                                       -                        800.23
Tools                                                                           -                        134.09
Truck rental                                                                    -                        100.00
Turnover                                                                   1,132.07                    2,622.89
Uncategorized                                                                   -                        400.00
Utilities                                                                  2,196.20                   31,596.42
Workers Compensation Insurance                                                  -                      1,821.00
Uncategorized prior to April 1, 2010                                            -                   235,258.00
           General and Administrative                                     26,091.46                 526,556.87

Other Income                                                            4/30/2011           Cumulative To Date
Casualty Loss                                                                   -                     20,622.00
Interest Income                                                               83.38                      498.99
Refund - IRS                                                                    -                        449.88
Refunds - Other                                                                 -                      2,255.93
           Other Income                                                       83.38                   23,826.80




                                                                                                                  Exhibit 1
                                                           See Accountants' Report                                Page 1 of 1

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                                                                                    Case Number: 09-60875-fra11
                                                                                    Report Mo/Yr: April 2011
Debtor: Barbara K. Parmenter

                                  UST-32, BUSINESS COMPARATIVE BALANCE SHEET

                                                          MO/YR            MO/YR       MO/YR      PER SCHEDULES
ASSETS                     As of month ending:            4/30/11                                 (i.e. Petition Date)
   Current Assets
         Petty Cash                                             100
         Cash - Unrestricted                                  8,358                                             162,200
         Cash - Restricted (See Footnote 1)                  69,303
         Accounts Receivable                                     81
         Less: Allowance for Doubtful Accounts
           NET ACCOUNTS RECEIVABLE                                  81

             Notes Receivable
             Insider Receivables (TBD)
             Inventory
             Prepaid Expenses                                 5,804
             Other (See Exhibit 2)                           28,729


    TOTAL CURRENT ASSETS                                    112,375                                             162,200
    Fixed Assets
          Real Property/Buildings (TBD)                   4,370,343                                          4,100,000
          Equipment                                          23,724                                              1,800
          Accumulated Depreciation (TBD)                 (1,180,915)
    NET FIXED ASSETS                                      3,213,152                                          4,101,800

   Other Assets (See Exhibit 2)                             290,825                                             75,000
TOTAL ASSETS                                              3,616,352                                          4,339,000


LIABILITIES
   Post-Petition Liabilities
         Trade Accounts Payable                                   204
         Taxes Payable                                            -
         Accrued Professional Fees                                -
         Notes Payable (TBD)
         Rents and Lease payables                               -
         Accrued Interest                                    13,128
         Other (See Exhibit 2)                               24,956
   TOTAL POST-PETITION LIABILITIES                           38,288                                                     -
   Pre-Petition Liabilities
         Secured Debt (TBD)                               1,886,677
         Priority Debt                                       27,190
         Unsecured Debt                                     153,876
         Other (attach list)
   TOTAL PRE-PETITION LIABILITIES                         2,067,743                                                     -

TOTAL LIABILITIES                                         2,106,031                                                     -

    Method of inventory valuation (Cost, Lower of Cost or Market, FIFO, LIFO, Other) : ________________________



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   United States Trustee-Oregon                   See Accountants' Report                               (Revised 12/15/03)




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                                                                         Report Mo/Yr:   April 2011
Debtor:      Barbara K. Parmenter

                                                   Exhibit 2

Other Current Assets                                                                          4/30/2011


Tax Escrow Deposits                                                                             28,728.52

             Other Current Assets                                                               28,728.52


Other Assets
                                                                                              4/30/2011

Capitalized Improvements - Village East Apartments                                               7,143.53
Capitalized Legal Fees                                                                          39,916.37
Development Costs - Dandy Resorts                                                                5,324.81
Development Costs - Lakeview                                                                    19,879.48
Development Costs - Rip Con LLC                                                                    480.00
Development Costs - Wild Goose                                                                 205,351.02
Loan Fees, net (Accumulated Amortization to be adjusted)                                        12,730.00

             Other Assets                                                                      290,825.21


Other Post-Petition Liabilities
                                                                                              4/30/2011

Accrued (Prepaid) Property Tax                                                                   2,097.11
Other Accrued Expenses                                                                           8,185.94
Prepaid Tenant Revenue                                                                             295.00
Tenant Deposit Security (may need to be adjusted when information is available)                  8,772.00
Other A/P per Guardian Management                                                                5,605.56

             Other Post-Petition Liabilities                                                    24,955.61




                                                                                                     Exhibit 2
                                               See Accountants' Report                               Page 1 of 1

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Debtor: Barbara K. Parmenter

                                  UST-32, BUSINESS COMPARATIVE BALANCE SHEET

                                                          MO/YR            MO/YR       MO/YR      PER SCHEDULES
EQUITY                    As of month ending:            04/30/11                                 (i.e. Petition Date)
  Owners' Equity (or Deficit)

        Prepetition Owners' Equity                          359,736
        Post-petition Cumulative Profit or (Loss)           207,678
        Direct Charges to Equity (Exhibit 3)                942,907
        Rounding                                                -
    TOTAL OWNERS' EQUITY (DEFICIT)                        1,510,321                                                     -


    TOTAL LIABILITIES AND OWNERS'
    EQUITY(DEFICIT)                                       3,616,352                                                     -




FOOTNOTES TO BALANCE SHEET:

The ending balances for all balance sheet accounts at April 30, 2010 were calculated from balances at March 31, 2010
per Rule 2015 Report for March 2010 and changes in current month from information provided by the debtor. Some
account balances will be determined when information is available. All non-cash accounts' balances are subject to
adjustments as information becomes available.

The court ordered the abandonment of properties located at 5409 Ivy Street, Springfield, Oregon, 888 57th Street,
Springfield, Oregon, and 38 West Lakeview Ave., Lowell, Oregon as of March 3, 2011. The asset and liability accounts
will be adjusted when information is available.
(1) Funds in BNY Mellon accounts are unrestricted and funds in Sterling accounts and Umpqua account are restricted
per declaration of trustee of motion for order approving termination of monthly allowance payable to debtor dated
January 12th, 2011.




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                                  Exhibit 3 - Direct Charges to Equity


                                                                                        4/30/2011

Adjust bank balances to actual as of April 1, 2010                                        (1,536.67)
Adjust Village East B/S accounts to actual per Guardian Management                        22,449.88
Owner's Post-petition Capital Contribution (Social Security)                               1,258.00
Owner's Post-petition Capital Contribution (Cashier's Checks dated 4/22/10)               10,000.00
Owner's Post-petition Draws                                                              (44,213.73)
Owner's Post-petition Draws (Transfers from (to) personal checking)                         (588.01)
Other adjustments prior to April 1, 2010                                                  (1,003.00)
Prior period balance (prior to April 1, 2010) to be identified                           956,541.00

                                                                                         942,907.47




                                                                                                    Exhibit 3
                                           See Accountants' Report                                  Page 1 of 1

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Debtor: Barbara K. Parmenter

                                 UST-33, BUSINESS COMPARATIVE CASH FLOW STATEMENT
                                                       MO/YR      MO/YR      MO/YR                 Cumulative
                                  As of month ending: 04/30/11                                    Filing to Date

NET INCOME (LOSS)                                               4,479                                       207,678
                                                                                                                -
ADJUSTMENTS TO RECONCILE NET INCOME                                                                             -
   TO NET CASH:                                                                                                 -
                                                                                                                -
   Depreciation and Amortization (TBD)                                                                          -
   (Gain) Loss on Sale of Assets                                                                                -
   (Increase) Decrease in Prepaids                                (165)                                      25,600
   (Increase) Decrease in Receivables                           (1,253)                                      (6,538)
   (Increase) Decrease in Inventory                                                                             -
   (Increase) Decrease in Other Receivables                     (2,490)                                        (209)
   (Increase) Decrease in Deposits                                 (73)                                     (28,728)
                                                                                                                -
   Increase (Decrease) in Payables                              (3,044)                                       2,272
   Increase (Decrease) in Taxes Payable                                                                      (2,972)
   Increase (Decrease) in Professional Fees                                                                     -
   Increase (Decrease) in Rents/Leases Pay                                                                      -
   Increase (Decrease) in Accrued Interest                                                                      882
   Transfer to Replacement Reserve Account                                                                  (12,569)
   Increase (Decrease) in Security Deposits                     118                                           4,342
   Increase (Decrease) in Accrued Expenses                    1,361                                           3,939
   Increase (Decrease) in Other Payables                    (11,103)                                          5,606

   Unknown adjustments prior to 4/1/2010                                                                     73,511
   Adjust bank balances at 4/1/2010                                                                          (4,277)
   Adjust VE B/S accounts per Guardian Mgt                  15,047                                           22,450
                                                                                                                -
NET CASH PROVIDED BY OPERATIONS                                 2,877                                       290,987
                                                                                                                -
CASH FLOWS FROM INVESTING/FINANCING:                                                                            -
                                                                                                                -
   Purchase of Fixed Assets                                                                                     -
   Proceeds from Sale of Fixed Assets                                                                           -
   Capital Contributions                                                                                     40,746
   Loan Proceeds                                                                                                482
   Loan Principal and Capital Lease Payments                    (8,161)                                    (347,736)
   Capitalized Costs - Wild Goose                                                                            (1,706)
   Owner's Draws                                                   (12)                                     (44,214)
   Transfers from (to) personal bank account                                                                   (588)
                                                                                                                -
                                                                                                                -
NET INCREASE (DECREASE) IN CASH                                 (5,296)                                     (62,029)

BEGINNING CASH                                              83,057                                          139,790

ENDING CASH                                                 77,761                                            77,761

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                                                                                Report Mo/Yr:                        April 2011

Debtor:         Barbara K. Parmenter

                                         UST-34, BUSINESS SUMMARY OF DISBURSEMENTS

INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare UST-34A (see next page) to include all bank accounts or other
sources of the debtor's funds. The disbursement total will be used to complete this SUMMARY OF DISBURSEMENTS.

The debtor is responsible for providing accurate monthly disbursement totals for purposes of calculating the debtor's obligation
pursuant to 28 U.S.C. § 1930(a)(6) to pay statutory fees to the U.S. Trustee. The disbursement total encompasses all payments made
by the debtor during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks
written and cash payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and
debt reduction. It also includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of
the debtor's assets. The only transactions normally excluded from the disbursement total are transfers within the same reporting month
between multiple debtor accounts.

The U.S. Trustee payment is due on the last day of the month following the end of each calendar quarter, or on April 30, July 31,
October 31, and January 31, respectively. Because the amount billed is an estimate, the debtor is responsible for paying the correct
statutory fee based on actual disbursements for the calendar quarter, or portion thereof while the debtor is in Chapter 11 (i.e. until the
case is converted, dismissed, or closed by final decree). Failure to pay statutory fees to the U.S. Trustee is cause for conversion or
dismissal of the case. A copy of the statutory fee schedule may be found on the U.S. Trustee's website located at:

                         http://www.usdoj.gov/ust/r18/p_library.htm

If you have any questions about how to compute the disbursement total, please call the U.S. Trustee's office:

Portland, OR               (503) 326-7651
Eugene, OR                 (541) 465-6330




                (UST-34A, with attachments, should follow this page.)


COMPUTATION OF MONTHLY DISBURSEMENT TOTAL
Total disbursements from UST-34A                                                                                      $           35,216.40
Cash payments not included in total above (if any)
Disbursements made by third parties for the debtor (if any, explain)

TOTAL DISBURSEMENTS THIS MONTH FROM ALL SOURCES                                                                       $           35,216.40
                                                                                                   Yes         No
At the end of this reporting month, did the debtor have any delinquent statutory fees
 owing to the U.S. Trustee?                                                                                    X

(If yes, list each quarter that is delinquent and the amount due along with an explanation)

Quarter         Explanation                                                                                          Amount




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   United States Trustee-Oregon                          See Accountants' Report                                          (Revised 12/15/03)




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                                                                                                                              UST-34A
Debtor:                                                                          Case Number:                      09-60875-fra11
Barbara K. Parmenter                                                             Report Mo/Yr:                          April 2011
                           UST-34A - STATEMENT OF BUSINESS CASH RECEIPTS AND DISBURSEMENTS


INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                            BNY Mellon       BNY Mellon    BNY Mellon       Sterling
Account Number                                      3565              3566         3568            7631
Type of Account                                   Money Mkt         Checking     Money Mkt       Checking          SUBTOTALS

Beginning Cash Balance                                4,569.53         859.03              -     27,932.40                33,360.96
Add:
Transfers in                                               -                -            -           93.00                    93.00
Receipts deposited                                    2,385.03              -         770.00     26,754.75                29,909.78
Other (Prior period adjustment)                            -                -            -             -                        -
  Total Cash Receipts                                 2,385.03              -         770.00     26,847.75                30,002.78

Subtract:
Transfers out                                               -             -                -      (3,000.00)              (3,000.00)
Disbursements by check or debit                             -         (225.81)             -     (35,023.67)             (35,249.48)
Other (Prior period outstanding cks voided)                 -             -                -            -                       -
Cash withdrawn                                              -             -                -            -                       -
  Total Cash Disbursements                                  -         (225.81)             -     (38,023.67)             (38,249.48)

Ending Cash Balance                                   6,954.56         633.22         770.00     16,756.48                25,114.26


Does each account identified above include the following supporting documents, as required? (Indicate YES, NO or
NOT APPLICABLE in the boxes below).
Monthly bank statement copy                           YES             YES            YES           YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)
Bank reconciliation (including
outstanding checks and deposits in
transit)                                              YES             YES            YES           YES
A detailed list of receipts for the account
(deposit log or receipts journal)                     YES             YES            YES           YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                              YES             YES            YES           YES
Funds received and/or
disbursed by another party                            N/A             N/A            N/A           N/A

Exhibit                                                 4              5              6              7
Removed Exhibit Page                                    1              1              1             1-3




   Monthly Operating Report -Individual(s) Engaged in Business                                                 Page 8 of 19
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                                                                                                                                UST-34A
Debtor:                                                                            Case Number:                      09-60875-fra11
Barbara K. Parmenter                                                               Report Mo/Yr:                          April 2011

                           UST-34A - STATEMENT OF BUSINESS CASH RECEIPTS AND DISBURSEMENTS



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                              Sterling        Sterling         Umpqua          Petty Cash
Account Number                                       7649            3581             5002                -
Type of Account                                    Checking        Checking         Money Mkt             -              TOTALS

Beginning Cash Balance                                8,845.00      12,006.14         28,744.70          100.00             83,056.80
Add:
Transfers in                                                -        3,000.00                  -              -              3,093.00
Receipts deposited                                          -            3.45                 6.85            -             29,920.08
Other (Prior period adjustment)                             -             -                    -              -                   -
  Total Cash Receipts                                       -        3,003.45                 6.85            -             33,013.08

Subtract:
Transfers out                                           (93.00)             -               -                 -             (3,093.00)
Disbursements by check or debit                            -                -            (11.92)              -            (35,261.40)
Other (Prior period outstanding cks voided)              45.00              -               -                 -                 45.00
Cash withdrawn                                             -                -               -                 -                   -
  Total Cash Disbursements                              (48.00)             -            (11.92)              -            (38,309.40)
                                                                                                                                  -
Ending Cash Balance                                   8,797.00      15,009.59         28,739.63          100.00             77,760.48

Does each account identified above include the following supporting documents, as required? (Indicate YES, NO or
NOT APPLICABLE in the boxes below).

Monthly bank statement copy                           YES            YES               YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)
Bank reconciliation (including
outstanding checks and deposits in
transit)                                              YES            YES               YES

A detailed list of receipts for the account
(deposit log or receipts journal)                     YES            YES               YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                              YES            YES               YES
Funds received and/or
disbursed by another party                            N/A             N/A              N/A              N/A

Exhibit                                                8               9                10
Removed Exhibit Page                                  1-2             1-2               1-2




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                                                                                                             Report Mo/Yr:     April 2011
Debtor:                  Barbara K. Parmenter

                                    UST-35, BUSINESS STATEMENT OF AGED RECEIVABLES


INSTRUCTIONS: Complete all portions of UST-35, STATEMENT OF AGED RECEIVABLES, unless the debtor asserts the following two
statements are true for this reporting month:

º At the beginning of the reporting month, the debtor did not have any uncollected pre-petition or post-petition accounts receivable; and,

º During the reporting month, the debtor did not have any receivables activity, including the accrual of new accounts receivable, or the collection or
write-off of accounts receivable from prior months.

Initial here ___________ if the debtor asserts that both statements above are correct and then skip to UST-36,
                          Statement of Post-Petition Payables.




Accounts Receivable Aging
                             Balance at          Current              Past Due             Past Due            Past Due             Uncollectible
                             Month End           Portion             31-60 days           61-90 days          over 90 days          Receivables

Pre-petition                         -                     -                    -                     -                    -                       -

Post-petition                      81.00              440.00              (118.00)                (92.00)             (149.00)                     -

TOTALS                             81.00              440.00              (118.00)                (92.00)             (149.00)                     -

Explain what efforts the debtor has made during the reporting period to collect receivables over 60 days
past due.



Accounts Receivable Reconciliation
                                                                                        Post Petition         Pre-Petition             Totals
                         Opening Balance                                                    (1,172.00)                  -               (1,172.00)
                         Add: Sales on account                                             29,762.00                                    29,762.00
                         Less: Payments on account                                        (26,385.00)                      -           (26,385.00)
                         Less: Write-offs or other adjustments                              (2,124.00)                     -            (2,124.00)
                         Closing Balance                                                        81.00                      -                81.00

Insider Receivable Reconciliation (To be determined)
Insider Name (e.g. officer, director, partner, member, shareholder)
Relationship to Debtor
                 Opening Balance (if first report, use the balance
                    on date of filing)                                                                -
                 Add: Current month advances                                                          -
                 Less: Current month payments                                                         -
                 Closing Balance                                                                      -                    -                       -




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   United States Trustee-Oregon                                See Accountants' Report                                                (Revised 12/15/03)




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                                                                                                             Case Number:            09-60875-fra11
                                                                                                             Report Mo/Yr:                April 2011
Debtor:                 Barbara K. Parmenter


                                UST-36, BUSINESS STATEMENT OF AGED POST-PETITION PAYABLES
                                              PART A - TRADE ACCOUNTS PAYABLE

INSTRUCTIONS: Complete PART A - TRADE ACCOUNTS PAYABLE unless the debtor asserts that this statement is true for this reporting month:

° Except for taxes disclosed in PART B of this report, the debtor has no other unpaid post-petition payables from the current reporting month or from any
prior post-petition months.

Initial here __________if the debtor asserts that the statement above is correct and then skip to UST-36, Part B, Taxes.




Accounts Payable Aging
                                Balance at               Current                   Past Due                   Past Due                 Past Due
                                Month End                Portion                  31-60 days                 61-90 days               over 90 days

Post-petition                           204.08                   204.08                         -                           -                        -


1. For Accounts Payable more than 30 days past due, explain why payment has not been made.


2. Attach the debtor's accounts payable aging report.
   See Exhibit 11




Post-Petition Trade Accounts Payable Reconciliation


                        Opening Balance                                                                                                      3,248.30
                        Add: New payables this reporting period                                                                            31,979.45
                        Less: Payments made                                                                                                35,023.67
                        Closing Balance                                                                                                         204.08




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                                                                                               Case Number:         09-60875-fra11
                                                                                               Report Mo/Yr:        April 2011
Debtor:                                Barbara K. Parmenter

                                      UST-37 BUSINESS/PERSONAL STATEMENT OF OPERATIONS
INSTRUCTIONS: Answer each question fully and attach additional sheets as necessary to provide a complete response

Question 1 - Sale of the Debtor's Assets
Did the debtor, or another party on behalf of the the debtor, sell, transfer, or otherwise dispose of any           Yes              No
of the debtor's business or personal assets during the reporting month that are out of the ordinary
course of the debtor's business? If yes, identify each asset, date of sale notice, method of disposition, and                            X
gross and net sale proceeds received. If real property was sold, attach a copy of the closing statement.




Question 2 - Financing
During the reporting month, did the debtor receive any business or personal financing, or loans from an
outside funding source? If yes, indicate the source of the funds, date paid to the debtor, dollar amount and
date of court approval.
                                                                                          Date of Court
      Source of Funds                         Date Paid                Amount               Approval                Yes              No

                                                                                                                                         X

Question 3 - Insurance and Bond Coverage
                                                                                                                    Yes              No
Did the debtor renew or replace any insurance policies during this reporting month? If yes, attach
a certificate of insurance for each renewal or change in coverage.                                                                       X

Were any of the debtor's insurance policies canceled or otherwise terminated for any reason during
the reporting month? If yes, explain.                                                                                                    X

Were any claims made during this reporting month against the debtor's bond? (Answer "No" if the
debtor is not required to have a bond). If yes, explain.                                                                                 X


Question 4 - Significant Events
Provide a narrative report of any significant events that may have an effect on the financial condition of the debtor
or any events out of the ordinary course of business that are not described elsewhere in this report. Attach separate
sheets as necessary.

Henderson Bennington Moshofsky, PC was appointed on April 20, 2010 to prepare Rule 2015 Reports beginning the
month of April 2010. The Trustee is granted an extension of time until May 25, 2011 to file the Rule 2015 report for
April 2011.

Amended Order Confirming Trustee's Plan of Reorganization was approved on 5/3/2011. This is the final Rule 2015 Report.

Question 5 - Case Progress
Explain what progress the debtor has made during the reporting month toward confirmation of a plan of reorganization.




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                                                                          Case Number: 09-60875-fra11
                                                                          Report Mo/Yr: April 2011
Debtor:                          Barbara K. Parmenter


                             UST-37, BUSINESS/PERSONAL STATEMENT OF OPERATIONS (Continued)

Question 5 - Continued                                                                      Estimated Date
                                                                                              To be Filed
                                                                              Filed?          If not Filed
                                 Disclosure Statement:                         Yes
                                 Plan of Reorganization:                       Yes


Payments on Pre-Petition Unsecured Debt (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month
on pre-petition unsecured debt? If "yes", complete table for each payment.
                                                       Payment                           Date of Court
    Payee's Name            Nature of Payment             Date         Amount              Approval                  Yes          No

                                                                                                                                   X




Payments to Attorneys and Other Professionals (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month
to a professional such as an attorney, accountant, realtor, appraiser, auctioneer, business consultant, or
other professional person? If "yes", complete table for each payment.
                                  Type of              Payment                            Date of Court
 Professional's Name         Work Performed               Date           Amount              Approval                Yes          No

                                                                                                                                   X


Payments to or from Debtor's Friends, and Relatives
Did another party make any payments during this reporting month to, or for the benefit of, the debtor OR
did the debtor make any payments to, or for the benefit of, the debtor's friends, relatives, or other insiders?
If "yes", complete table for each payment
                                                    Payment                                    Purpose of
     Payee's Name       Relationship to Debtor           Date            Amount                 Payment              Yes          No

                                                                                                                                   X




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                                                                                                      Report Mo/Yr: April 2011
Debtor: Barbara K. Parmenter

                                        UST-38, PERSONAL COMPARATIVE BALANCE SHEET

INSTRUCTIONS: This balance sheet has been designed for ease of use for debtor's personal assets and liabilities. Accordingly, it is not intended to
follow standard accounting principles. Include in this balance sheet only personal assets and liabilties not otherwise reported on UST-32, Business
Comparative Balance Sheet. For funds held in banks or brokerages, the debtor must report the month-end market value. For each remaining asset, the
debtor should use the most current market values. Footnotes or explanations, if any, may be attached to this page.



                                                                      MO/YR             MO/YR              MO/YR           PER SCHEDULES
ASSETS                            As of month ending:                04/30/11                                              (i.e. Petition Date)
              Cash*                                                  Unknown
              Checking Account(s)                                    Unknown
              Savings Account(s)                                     Unknown
              Investment/Brokerage Account(s)                               -
              IRA/Retirement Account(s)                                     -
              Remaining Personal Property                              TBD                                                                   47,700
              Real Property
         1.
         2.
         3.
              (attach additional sheets if needed)

              Other Assets (list all assets not included                TBD                                                                  24,800
              above even those acquired post-petition)
TOTAL ASSETS                                                                  -

LIABILITIES
   Pre-Petition Liabilities
         Secured Debt                                                   TBD
         Priority Unsecured Debt                                        TBD
         Unsecured Debt                                                 TBD
   TOTAL PRE-PETITION LIABILITIES                                             -
   Post-Petition Liabilities
         Mortgage/Rent Payments Due                                     TBD
         Other Secured Debt                                             TBD
         Unpaid Real Property Taxes                                     TBD
         Other Unpaid Taxes (specify)                                   TBD
         Other Unpaid Debts (specify)                                   TBD

    TOTAL POST-PETITION LIABILITIES                                           -                                                                     -

TOTAL LIABILITIES                                                             -                                                                     -

NET WORTH (TOTAL ASSETS MINUS TOTAL
   TOTAL LIABILITIES)                                                         -                                                                     -




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   United States Trustee-Oregon                            See Accountants' Report                                             (Revised 12/15/03)




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                                                                                               Case Number:              09-60875-fra11
                                                                                               Report Mo/Yr:             April 2011
Debtor: Barbara K. Parmenter

                                          UST-39, PERSONAL SUMMARY OF RECEIPTS

INSTRUCTIONS: Complete each category and provide the net receipts total for the month. Use the Notes section to explain or itemize receipts when
appropriate.




Type of Receipt                                                                                   Gross Amount               Net Amount
            Wages or salary                                                                           Unknown                   Unknown
            Social security, pension, or 401k distributions (see Note below)                                   629.00                     629.00
            Collection of accounts receivable or note payable (specify source)                        Unknown                   Unknown
            Loan or other financing proceeds (specify source)                                         Unknown                   Unknown
            Proceeds from sale of real property (requires court order)                                Unknown                   Unknown
            Proceeds from sale of personal property (requires court order)                            Unknown                   Unknown
            Other (specify source)




TOTAL RECEIPTS FOR THIS MONTH                                                                                  629.00                     629.00


Notes:      Social Security deposit of $629 should have been automatically deposited into Key Bank #6907 In April 2011.
            The account was removed from UST 34A beginning July 2010. The debtor did not provide the Trustee with her
            personal financial information for the month of April 2011.




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                                                                           Case Number:                  09-60875-fra11
                                                                           Report Mo/Yr:                      April 2011

Debtor:         Barbara K. Parmenter

                                   UST-40, PERSONAL SUMMARY OF DISBURSEMENTS


INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare UST-40A (see next page) to include all bank accounts or other
sources of the debtor's funds. The disbursement total will be used to complete this SUMMARY OF DISBURSEMENTS.



                (UST-40A, with attachments, should follow this page.)




COMPUTATION OF MONTHLY DISBURSEMENT TOTAL
Total disbursements from UST-40A                                                                           Unknown
Cash payments not included in total above (if any)                                                         Unknown
Disbursements made by third parties for the debtor (if any, explain)                                       Unknown
Disbursements made pursuant to a sale of the debtor's assets (if any)                                      Unknown
TOTAL DISBURSEMENTS THIS MONTH FROM ALL SOURCES                                                     $                        -




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                                                                                                           UST-40A
Debtor:                                                                    Case Number:            09-60875-fra11
Barbara K. Parmenter                                                       Report Mo/Yr:                April 2011

                                  UST-40A - PERSONAL FINANCIAL ACCOUNT DETAIL



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents
as indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                        Unknown
Account Number
Type of Account                                                                                      TOTALS

Beginning Cash Balance                                                                                            -
Add:
Transfers in from business checkings                                                                              -
Receipts deposited                                                                                                -
Other (identify)                                                                                                  -
  Total Cash Receipts                                  -             -             -         -                    -

Subtract:
Transfers out                                                                                                     -
Disbursements by check or debit                                                                                   -
Cash withdrawn                                                                                                    -
Other (Transfer to Business Checking)                                                                             -
  Total Cash Disbursements                             -             -             -         -                    -

Ending Cash Balance                                    -             -             -         -                    -


Does each account identified above include the following supporting documents, as required? (Indicate YES, NO or
NOT APPLICABLE in the boxes below).

Monthly bank statement copy
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)

A detailed list of receipts for the account
(deposit log or receipts journal)

A detailed list of disbursements for the
account (check register or disbursement
journal)

Funds received and/or
disbursed by another party

Exhibit



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